                                   Case 22-13855-AJC                      Doc 1     Filed 05/16/22            Page 1 of 86


Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF FLORIDA

Case number (if known)                                                        Chapter you are filing under:

                                                                                  Chapter 7
                                                                                  Chapter 11
                                                                                  Chapter 12
                                                                                  Chapter 13                                      Check if this is an
                                                                                                                                  amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                 02/20
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Yoandy
     your government-issued        First name                                                      First name
     picture identification (for
     example, your driver's
     license or passport).         Middle name                                                     Middle name
     Bring your picture            Gil
     identification to your
                                   Last name and Suffix (Sr., Jr., II, III)                        Last name and Suffix (Sr., Jr., II, III)
     meeting with the trustee.




2.   All other names you have
     used in the last 8 years Yoandy Gil Alvarez
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-0513
     Individual Taxpayer
     Identification number
     (ITIN)




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                page 1
                                 Case 22-13855-AJC                    Doc 1        Filed 05/16/22        Page 2 of 86
Debtor 1   Yoandy Gil                                                                                Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have         I have not used any business name or EINs.                    I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EIN                                                           EIN




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 1508 SE 5th St.
                                 Homestead, FL 33033
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Miami-Dade
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                        Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                       I have lived in this district longer than in any               have lived in this district longer than in any other
                                       other district.                                                district.

                                       I have another reason.                                         I have another reason.
                                       Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 2
                                 Case 22-13855-AJC                     Doc 1        Filed 05/16/22            Page 3 of 86
Debtor 1    Yoandy Gil                                                                                    Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                 Chapter 7
                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                                          Southern District of
                                              District    Florida                       When     3/18/20                Case number      20-13693
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                         this bankruptcy petition.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
                                   Case 22-13855-AJC                  Doc 1        Filed 05/16/22             Page 4 of 86
Debtor 1    Yoandy Gil                                                                                    Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
     If you have more than one                 Number, Street, City, State & ZIP Code
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. § 1116(1)(B).
    debtor?
                                      No.      I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11
                                      No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).
                                               Code.

                                      Yes.     I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy Code, and
                                               I do not choose to proceed under Subchapter V of Chapter 11.

                                      Yes.     I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy Code, and
                                               I choose to proceed under Subchapter V of Chapter 11.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 4
                                     Case 22-13855-AJC                   Doc 1         Filed 05/16/22      Page 5 of 86
Debtor 1    Yoandy Gil                                                                                 Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 5
                                 Case 22-13855-AJC                    Doc 1        Filed 05/16/22             Page 6 of 86
Debtor 1    Yoandy Gil                                                                                    Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”
                                               No. Go to line 16b.

                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.
                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you                                                            5001-10,000                                   50,001-100,000
    owe?                            50-99
                                    100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    to be?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ Yoandy Gil
                                 Yoandy Gil                                                        Signature of Debtor 2
                                 Signature of Debtor 1

                                 Executed on     May 16, 2022                                      Executed on
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 6
                                Case 22-13855-AJC                        Doc 1    Filed 05/16/22              Page 7 of 86
Debtor 1   Yoandy Gil                                                                                     Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ Patrick L. Cordero, Esq.                                       Date         May 16, 2022
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Patrick L. Cordero, Esq. 801992
                                Printed name

                                Law Office of Patrick L. Cordero, PA
                                Firm name

                                7333 Coral Way
                                Miami, FL 33155
                                Number, Street, City, State & ZIP Code

                                Contact phone     305-445-4855                               Email address         ECFMAIL@pcorderolaw.com
                                801992 FL
                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
                                        Case 22-13855-AJC                            Doc 1            Filed 05/16/22                   Page 8 of 86


Fill in this information to identify your case:

Debtor 1                   Yoandy Gil
                           First Name                           Middle Name                          Last Name

Debtor 2
(Spouse if, filing)        First Name                           Middle Name                          Last Name


United States Bankruptcy Court for the:                  SOUTHERN DISTRICT OF FLORIDA

Case number
(if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                 amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Part 1:        Summarize Your Assets

                                                                                                                                                                Your assets
                                                                                                                                                                Value of what you own

1.     Schedule A/B: Property (Official Form 106A/B)
       1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $             264,929.00

       1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $              18,943.88

       1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $             283,872.88

Part 2:        Summarize Your Liabilities

                                                                                                                                                                Your liabilities
                                                                                                                                                                Amount you owe

2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
       2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $             248,861.76

3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
       3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                      0.00

       3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $             162,083.61


                                                                                                                                    Your total liabilities $               410,945.37


Part 3:        Summarize Your Income and Expenses

4.     Schedule I: Your Income (Official Form 106I)
       Copy your combined monthly income from line 12 of Schedule I................................................................................             $                3,383.33

5.     Schedule J: Your Expenses (Official Form 106J)
       Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                3,370.00

Part 4:        Answer These Questions for Administrative and Statistical Records

6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
            No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

          Yes
7.     What kind of debt do you have?

               Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
               household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                    page 1 of 2
                              Case 22-13855-AJC                   Doc 1        Filed 05/16/22               Page 9 of 86
Debtor 1    Yoandy Gil                                                                  Case number (if known)

           Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
           the court with your other schedules.

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
     122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                          $         3,383.33


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                       Total claim
     From Part 4 on Schedule E/F, copy the following:
     9a. Domestic support obligations (Copy line 6a.)                                                   $              0.00

     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              0.00

     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $              0.00

     9d. Student loans. (Copy line 6f.)                                                                 $              0.00

     9e. Obligations arising out of a separation agreement or divorce that you did not report as
         priority claims. (Copy line 6g.)                                                               $              0.00

     9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$              0.00


     9g. Total. Add lines 9a through 9f.                                                           $                 0.00




Official Form 106Sum                       Summary of Your Assets and Liabilities and Certain Statistical Information                     page 2 of 2
                                         Case 22-13855-AJC                             Doc 1          Filed 05/16/22            Page 10 of 86


Fill in this information to identify your case and this filing:

Debtor 1                    Yoandy Gil
                            First Name                                 Middle Name                    Last Name

Debtor 2
(Spouse, if filing)         First Name                                 Middle Name                    Last Name


United States Bankruptcy Court for the:                      SOUTHERN DISTRICT OF FLORIDA

Case number                                                                                                                                                     Check if this is an
                                                                                                                                                                amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                         12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

       No. Go to Part 2.

       Yes. Where is the property?




1.1                                                                            What is the property? Check all that apply
       1508 SE 5th St.                                                                Single-family home                         Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                      Duplex or multi-unit building
                                                                                                                                 Creditors Who Have Claims Secured by Property.
                                                                                      Condominium or cooperative

                                                                                      Manufactured or mobile home
                                                                                                                                 Current value of the      Current value of the
       Homestead                         FL        33033-0000                         Land                                       entire property?          portion you own?
       City                              State              ZIP Code                  Investment property                               $264,929.00                $264,929.00
                                                                                      Timeshare
                                                                                                                                 Describe the nature of your ownership interest
                                                                                      Other                                      (such as fee simple, tenancy by the entireties, or
                                                                               Who has an interest in the property? Check one    a life estate), if known.
                                                                                      Debtor 1 only
       Miami-Dade                                                                     Debtor 2 only
       County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                      Check if this is community property
                                                                                      At least one of the debtors and another         (see instructions)
                                                                               Other information you wish to add about this item, such as local
                                                                               property identification number:
                                                                               Debtor's Homestead
                                                                               Purchased: 02/17
                                                                               Value based on County Market Value


2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
   pages you have attached for Part 1. Write that number here...........................................................................=>                      $264,929.00


Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                                 Schedule A/B: Property                                                                  page 1
                                  Case 22-13855-AJC                          Doc 1         Filed 05/16/22                Page 11 of 86
Debtor 1         Yoandy Gil                                                                                        Case number (if known)

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1    Make:      Scion                                    Who has an interest in the property? Check one                  Do not deduct secured claims or exemptions. Put
                                                                                                                             the amount of any secured claims on Schedule D:
         Model:     TC                                          Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:      2008                                        Debtor 2 only                                                Current value of the     Current value of the
         Approximate mileage:              168,000              Debtor 1 and Debtor 2 only                                   entire property?         portion you own?
         Other information:                                     At least one of the debtors and another
         VIN#JTKDE167480267725
         Paid in Full                                           Check if this is community property                                    $2,325.00                 $2,325.00
         Valuation as per Nada                                   (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
  .pages you have attached for Part 2. Write that number here.............................................................................=>                  $2,325.00


Part 3: Describe Your Personal and Household Items
Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                    portion you own?
                                                                                                                                                    Do not deduct secured
                                                                                                                                                    claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                   Furniture Description:
                                   sofas, loveseats, coffee tables, end tables, dining table, chairs,
                                   desk, beds, dressers, night tables, drawer stands                                                                                 $650.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                   Electronics Description and any other electronics:
                                   Televisions, DVD player, stereo, computer, printer.                                                                               $450.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
        No
        Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
        No
        Yes. Describe.....

Official Form 106A/B                                                   Schedule A/B: Property                                                                           page 2
                                          Case 22-13855-AJC                                     Doc 1              Filed 05/16/22   Page 12 of 86
Debtor 1        Yoandy Gil                                                                                                      Case number (if known)

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
      No
      Yes. Describe.....

                                          2 Firearms                                                                                                                   $200.00


11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
      Yes. Describe.....

                                          Clothing                                                                                                                     $300.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
      Yes. Describe.....

                                          Debtor owns no jewelry                                                                                                          $0.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
      No
      Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
     No
      Yes. Give specific information.....

                                          Decorations Description:
                                          Picture frames                                                                                                                $60.00



15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
    for Part 3. Write that number here ..............................................................................                                             $1,660.00


Part 4: Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following?                                                                              Current value of the
                                                                                                                                                         portion you own?
                                                                                                                                                         Do not deduct secured
                                                                                                                                                         claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
      Yes................................................................................................................

                                                                                                                                    Cash money                          $80.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:




Official Form 106A/B                                                                     Schedule A/B: Property                                                           page 3
                                      Case 22-13855-AJC                       Doc 1        Filed 05/16/22           Page 13 of 86
Debtor 1        Yoandy Gil                                                                                      Case number (if known)



                                        17.1.    Checking                     Popular Bank Acct #8010                                      $800.00



                                        17.2.    Checking                     Chase Bank Account #8598                                    $7,900.00



                                        17.3.    Checking                     Wells Fargo Bank Account #1341                              $5,400.00



                                        17.4.    Savings                      Wells Fargo Bank Account #7884                               $425.00



                                        17.5.                                 Coinbase Account                                              $90.00



                                        17.6.    Money Market                 Robinhood Account #1992                                      $105.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
      No
      Yes..................                     Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
      Yes. Give specific information about them...................
                                 Name of entity:                                                                 % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
      No
      Yes. Give specific information about them
                                  Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
      Yes. List each account separately.
                              Type of account:                                Institution name:

                                        401(k)                                Fidelity Investment #2345                                    $158.88


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
      No
      Yes. .....................                                              Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
      No
      Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
      No
      Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

Official Form 106A/B                                                   Schedule A/B: Property                                                 page 4
                              Case 22-13855-AJC                   Doc 1        Filed 05/16/22              Page 14 of 86
Debtor 1      Yoandy Gil                                                                             Case number (if known)


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
      No
      Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
      No
      Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
      No
      Yes. Give specific information about them...

Money or property owed to you?                                                                                                      Current value of the
                                                                                                                                    portion you own?
                                                                                                                                    Do not deduct secured
                                                                                                                                    claims or exemptions.

28. Tax refunds owed to you
      No
      Yes. Give specific information about them, including whether you already filed the returns and the tax years.......




                                                2021 Tax Refund                                            Federal                                      $0.00


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
      No
      Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
      No
      Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
      No
      Yes. Name the insurance company of each policy and list its value.
                               Company name:                                                Beneficiary:                             Surrender or refund
                                                                                                                                     value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
      No
      Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
      No
      Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
      No
      Yes. Describe each claim.........


Official Form 106A/B                                          Schedule A/B: Property                                                                    page 5
                                        Case 22-13855-AJC                               Doc 1             Filed 05/16/22                     Page 15 of 86
Debtor 1         Yoandy Gil                                                                                                            Case number (if known)

35. Any financial assets you did not already list
       No
       Yes. Give specific information..


36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
    for Part 4. Write that number here.....................................................................................................................          $14,958.88


Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
      No. Go to Part 6.
      Yes. Go to line 38.



Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
          No. Go to Part 7.
          Yes. Go to line 47.


Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
       No
       Yes. Give specific information.........


54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                  $0.00

Part 8:         List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2 ......................................................................................................................          $264,929.00
56. Part 2: Total vehicles, line 5                                                                            $2,325.00
57. Part 3: Total personal and household items, line 15                                                       $1,660.00
58. Part 4: Total financial assets, line 36                                                                  $14,958.88
59. Part 5: Total business-related property, line 45                                                              $0.00
60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
61. Part 7: Total other property not listed, line 54                                             +                $0.00

62. Total personal property. Add lines 56 through 61...                                                      $18,943.88              Copy personal property total       $18,943.88

63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                    $283,872.88




Official Form 106A/B                                                              Schedule A/B: Property                                                                     page 6
                                    Case 22-13855-AJC               Doc 1       Filed 05/16/22             Page 16 of 86


Fill in this information to identify your case:

Debtor 1               Yoandy Gil
                       First Name                    Middle Name                Last Name

Debtor 2
(Spouse if, filing)    First Name                    Middle Name                Last Name


United States Bankruptcy Court for the:        SOUTHERN DISTRICT OF FLORIDA

Case number
(if known)                                                                                                                        Check if this is an
                                                                                                                                  amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                            4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

Part 1:        Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
     Brief description of the property and line on     Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property             portion you own
                                                       Copy the value from    Check only one box for each exemption.
                                                       Schedule A/B

     1508 SE 5th St. Homestead, FL 33033                    $264,929.00                                       100%     Fla. Const. art. X, § 4(a)(1);
     Miami-Dade County                                                                                                 Fla. Stat. Ann. §§ 222.01 &
     Debtor's Homestead                                                            100% of fair market value, up to    222.02
     Purchased: 02/17                                                              any applicable statutory limit
     Value based on County Market Value
     Line from Schedule A/B: 1.1

     2008 Scion TC 168,000 miles                               $2,325.00                                 $1,000.00     Fla. Stat. Ann. § 222.25(1)
     VIN#JTKDE167480267725
     Paid in Full                                                                  100% of fair market value, up to
     Valuation as per Nada                                                         any applicable statutory limit
     Line from Schedule A/B: 3.1

     2008 Scion TC 168,000 miles                               $2,325.00                                      $0.00    Fla. Const. Art. X, § 4(a)(2)
     VIN#JTKDE167480267725
     Paid in Full                                                                  100% of fair market value, up to
     Valuation as per Nada                                                         any applicable statutory limit
     Line from Schedule A/B: 3.1




Official Form 106C                               Schedule C: The Property You Claim as Exempt                                                     page 1 of 2
                               Case 22-13855-AJC                  Doc 1       Filed 05/16/22             Page 17 of 86

Debtor 1    Yoandy Gil                                                                         Case number (if known)

    Brief description of the property and line on    Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
    Schedule A/B that lists this property            portion you own
                                                     Copy the value from    Check only one box for each exemption.
                                                     Schedule A/B

    Furniture Description:                                     $650.00                                   $650.00        Fla. Const. Art. X, § 4(a)(2)
    sofas, loveseats, coffee tables, end
    tables, dining table, chairs, desk,                                          100% of fair market value, up to
    beds, dressers, night tables, drawer                                         any applicable statutory limit
    stands
    Line from Schedule A/B: 6.1

    Electronics Description and any                            $450.00                                   $350.00        Fla. Const. Art. X, § 4(a)(2)
    other electronics:
    Televisions, DVD player, stereo,                                             100% of fair market value, up to
    computer, printer.                                                           any applicable statutory limit
    Line from Schedule A/B: 7.1

    401(k): Fidelity Investment #2345                          $158.88                                      100%        Fla. Stat. Ann. § 222.21(2)
    Line from Schedule A/B: 21.1
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit


3. Are you claiming a homestead exemption of more than $189,050?
   (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
           No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                                       page 2 of 2
                                        Case 22-13855-AJC                    Doc 1         Filed 05/16/22             Page 18 of 86


Fill in this information to identify your case:

Debtor 1                   Yoandy Gil
                           First Name                      Middle Name                      Last Name

Debtor 2
(Spouse if, filing)        First Name                      Middle Name                      Last Name


United States Bankruptcy Court for the:             SOUTHERN DISTRICT OF FLORIDA

Case number
(if known)                                                                                                                                       Check if this is an
                                                                                                                                                 amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
          No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below.
Part 1:        List All Secured Claims
                                                                                                           Column A               Column B                Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                           value of collateral.   claim                   If any
        Freedom Mortgage
2.1                                                                                                          $245,352.76               $264,929.00                     $0.00
        Corporation                              Describe the property that secures the claim:
        Creditor's Name                          1508 SE 5th St. Homestead, FL
                                                 33033 Miami-Dade County
                                                 Debtor's Homestead
                                                 Purchased: 02/17
                                                 Value based on County Market
                                                 Value
                                                 As of the date you file, the claim is: Check all that
        907 Pleasant Valley Ave                  apply.
        Mount Laurel, NJ 08054                       Contingent
        Number, Street, City, State & Zip Code       Unliquidated
                                                     Disputed
Who owes the debt? Check one.                    Nature of lien. Check all that apply.
    Debtor 1 only                                    An agreement you made (such as mortgage or secured
    Debtor 2 only                                     car loan)

      Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another          Judgment lien from a lawsuit
      Check if this claim relates to a               Other (including a right to offset)
      community debt

                                Opened
                                02/17 Last
                                Active
Date debt was incurred          1/08/20                   Last 4 digits of account number        3652




Official Form 106D                               Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 2
                                      Case 22-13855-AJC                         Doc 1         Filed 05/16/22                Page 19 of 86

Debtor 1 Yoandy Gil                                                                                          Case number (if known)
              First Name                  Middle Name                      Last Name


2.2     Td Auto Finance                            Describe the property that secures the claim:                      $3,509.00                  $6,925.00          $0.00
        Creditor's Name                            2015 Chevrolet Cruze LS 44,000
                                                   miles
                                                   Secured with Td Auto Finance
                                                   $3,509.00
                                                   Value based on NADA.Com Report
                                                   to be paid outside the Chapter 13
                                                   Plan
                                                   Joint with Debtor's mother
                                                   Debtor claims 1/2 interest
                                                   As of the date you file, the claim is: Check all that
        Po Box 9223                                apply.
        Farmington, MI 48333                            Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
      Debtor 1 only                                     An agreement you made (such as mortgage or secured
      Debtor 2 only                                      car loan)

      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
      At least one of the debtors and another           Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)
      community debt

                                Opened
                                10/15 Last
                                Active
Date debt was incurred          1/17/20                     Last 4 digits of account number         2810



  Add the dollar value of your entries in Column A on this page. Write that number here:                                    $248,861.76
  If this is the last page of your form, add the dollar value totals from all pages.
  Write that number here:                                                                                                   $248,861.76

Part 2:      List Others to Be Notified for a Debt That You Already Listed
Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
debts in Part 1, do not fill out or submit this page.

[ ]
           Name, Number, Street, City, State & Zip Code                                              On which line in Part 1 did you enter the creditor?   2.1
           Freedom Mortgage Corporation
           Attn: Bankruptcy                                                                          Last 4 digits of account number
           907 Pleasant Valley Ave, Ste 3
           Mt Laurel, NJ 08054

[ ]
           Name, Number, Street, City, State & Zip Code                                              On which line in Part 1 did you enter the creditor?   2.2
           Td Auto Finance
           Attn: Bankruptcy Dept                                                                     Last 4 digits of account number
           Po Box 9223
           Farmington Hills, MI 48333




Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                              page 2 of 2
                                          Case 22-13855-AJC                   Doc 1          Filed 05/16/22                Page 20 of 86


Fill in this information to identify your case:

Debtor 1                     Yoandy Gil
                             First Name                    Middle Name                       Last Name

Debtor 2
(Spouse if, filing)          First Name                    Middle Name                       Last Name


United States Bankruptcy Court for the:                SOUTHERN DISTRICT OF FLORIDA

Case number
(if known)                                                                                                                                                  Check if this is an
                                                                                                                                                            amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
Part 1:        List All of Your PRIORITY Unsecured Claims
1.    Do any creditors have priority unsecured claims against you?
          No. Go to Part 2.

          Yes.
2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
      identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
      possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
      Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
      (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                     Total claim            Priority                Nonpriority
                                                                                                                                            amount                  amount
2.1          Thalia Mesa Alvarez                                  Last 4 digits of account number        0513                      $0.00                    $0.00                 $0.00
             Priority Creditor's Name
             11273 NW 6th Terr                                    When was the debt incurred?
             Miami, FL 33172
             Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                             Contingent
             Debtor 1 only                                           Unliquidated
             Debtor 2 only                                           Disputed
             Debtor 1 and Debtor 2 only                           Type of PRIORITY unsecured claim:

             At least one of the debtors and another                 Domestic support obligations

             Check if this claim is for a community debt             Taxes and certain other debts you owe the government
       Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
             No                                                      Other. Specify
             Yes                                                                       Child Support Recipient


Part 2:        List All of Your NONPRIORITY Unsecured Claims
3.    Do any creditors have nonpriority unsecured claims against you?

          No. You have nothing to report in this part. Submit this form to the court with your other schedules.

          Yes.

4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
      unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
      than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
      Part 2.
                                                                                                                                                               Total claim




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                    Page 1 of 32
                                                                                                                                                    54747
                                 Case 22-13855-AJC                   Doc 1          Filed 05/16/22               Page 21 of 86
Debtor 1 Yoandy Gil                                                                              Case number (if known)

4.1       Ally Financial                                     Last 4 digits of account number       8957                                             $0.00
          Nonpriority Creditor's Name
                                                                                                   Opened 08/14 Last Active
          P.o. Box 380901                                    When was the debt incurred?           2/12/15
          Bloomington, MN 55438
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community            Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Notice only


4.2       Amex                                               Last 4 digits of account number       7073                                         $5,335.00
          Nonpriority Creditor's Name
                                                                                                   Opened 06/17 Last Active
          P.o. Box 981537                                    When was the debt incurred?           10/09/18
          El Paso, TX 79998
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community            Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card


4.3       Amex                                               Last 4 digits of account number       4883                                         $3,571.00
          Nonpriority Creditor's Name
                                                                                                   Opened 08/18 Last Active
          P.o. Box 981537                                    When was the debt incurred?           10/09/18
          El Paso, TX 79998
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community            Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 2 of 32
                                 Case 22-13855-AJC                   Doc 1          Filed 05/16/22               Page 22 of 86
Debtor 1 Yoandy Gil                                                                              Case number (if known)

4.4       AR Resources, Inc.                                 Last 4 digits of account number       0688                                          $849.00
          Nonpriority Creditor's Name
          Pob 1056                                           When was the debt incurred?           Opened 12/18
          Blue Bell, PA 19422
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community            Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Collection Attorney Olympia Llp


4.5       Bank of America                                    Last 4 digits of account number       4375                                         $2,393.00
          Nonpriority Creditor's Name
                                                                                                   Opened 09/18 Last Active
          Po Box 982238                                      When was the debt incurred?           12/20/19
          El Paso, TX 79998
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community            Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card


4.6       Barclays Bank Delaware                             Last 4 digits of account number       2656                                         $8,030.00
          Nonpriority Creditor's Name
                                                                                                   Opened 11/13 Last Active
          P.o. Box 8803                                      When was the debt incurred?           9/02/18
          Wilmington, DE 19899
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community            Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 3 of 32
                                 Case 22-13855-AJC                   Doc 1          Filed 05/16/22               Page 23 of 86
Debtor 1 Yoandy Gil                                                                              Case number (if known)

4.7       BBVA Compass Bank                                  Last 4 digits of account number       1767                                             $0.00
          Nonpriority Creditor's Name
                                                                                                   Opened 08/18 Last Active
          Po Box 11830                                       When was the debt incurred?           4/24/19
          Birmingham, AL 35202
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community            Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card


4.8       Capital One                                        Last 4 digits of account number       2499                                             $0.00
          Nonpriority Creditor's Name
                                                                                                   Opened 6/26/12 Last Active
          Po Box 30253                                       When was the debt incurred?           8/13/13
          Salt Lake City, UT 84130
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community            Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Charge Account


4.9       Capital One Auto Finance                           Last 4 digits of account number       1001                                             $0.00
          Nonpriority Creditor's Name
                                                                                                   Opened 06/17 Last Active
          Credit Bureau Dispute                              When was the debt incurred?           11/03/17
          Plano, TX 75025
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community            Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Notice only




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 4 of 32
                                 Case 22-13855-AJC                   Doc 1          Filed 05/16/22               Page 24 of 86
Debtor 1 Yoandy Gil                                                                              Case number (if known)

4.1
0         Capital One Auto Finance                           Last 4 digits of account number       1001                                             $0.00
          Nonpriority Creditor's Name
                                                                                                   Opened 05/13 Last Active
          Credit Bureau Dispute                              When was the debt incurred?           2/07/14
          Plano, TX 75025
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community            Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Notice only


4.1
1         Cavalry Portfolio Services                         Last 4 digits of account number       6471                                         $9,798.49
          Nonpriority Creditor's Name
          500 Summit Lake Drive                              When was the debt incurred?           Opened 05/19
          Valhalla, NY 10595
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community            Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Collection Attorney Citibank
             Yes                                                Other. Specify   Lawsuit Case No #20-000526-CC-26


4.1
2         Chase Auto Finance                                 Last 4 digits of account number       2363                                             $0.00
          Nonpriority Creditor's Name
                                                                                                   Opened 08/12 Last Active
          P.o. Box 901003                                    When was the debt incurred?           5/23/13
          Fort Worth, TX 76101
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community            Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Notice only




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 5 of 32
                                 Case 22-13855-AJC                   Doc 1          Filed 05/16/22               Page 25 of 86
Debtor 1 Yoandy Gil                                                                              Case number (if known)

4.1
3         Citibank                                           Last 4 digits of account number       2831                                             $0.00
          Nonpriority Creditor's Name
          P.O. Box 689196                                    When was the debt incurred?
          Des Moines, IA 50368-9196
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community            Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card


4.1
4         Citibank                                           Last 4 digits of account number       0513                                             $0.00
          Nonpriority Creditor's Name
          P.O. Box 790046                                    When was the debt incurred?
          Saint Louis, MO 63179-0046
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community            Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card


4.1
5         Citibank/ The Home Depot                           Last 4 digits of account number       9489                                          $500.00
          Nonpriority Creditor's Name
          P.O. Box 9001010                                   When was the debt incurred?
          Louisville, KY 40290-1010
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community            Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 6 of 32
                                 Case 22-13855-AJC                   Doc 1          Filed 05/16/22               Page 26 of 86
Debtor 1 Yoandy Gil                                                                              Case number (if known)

4.1
6         Comenity Bank/Express                              Last 4 digits of account number       1803                                         $1,000.00
          Nonpriority Creditor's Name
                                                                                                   Opened 9/11/18 Last Active
          Po Box 182789                                      When was the debt incurred?           6/01/19
          Columbus, OH 43218
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community            Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Charge Account


4.1
7         Comenity Bank/Victoria Secret                      Last 4 digits of account number       8999                                          $650.00
          Nonpriority Creditor's Name
                                                                                                   Opened 8/24/18 Last Active
          Po Box 182789                                      When was the debt incurred?           5/01/19
          Columbus, OH 43218
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community            Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Charge Account


4.1
8         Comenity/MPRC                                      Last 4 digits of account number       9866                                             $0.00
          Nonpriority Creditor's Name
                                                                                                   Opened 9/06/18 Last Active
          Po Box 182120                                      When was the debt incurred?           5/01/19
          Columbus, OH 43218
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community            Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Charge Account




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 7 of 32
                                 Case 22-13855-AJC                   Doc 1          Filed 05/16/22               Page 27 of 86
Debtor 1 Yoandy Gil                                                                              Case number (if known)

4.1
9         Comenitycb/el Dorado                               Last 4 digits of account number       8224                                         $7,000.00
          Nonpriority Creditor's Name
                                                                                                   Opened 8/17/18 Last Active
          Po Box 182120                                      When was the debt incurred?           5/01/19
          Columbus, OH 43218
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community            Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Charge Account


4.2
0         Credit First National Association                  Last 4 digits of account number       8730                                          $327.00
          Nonpriority Creditor's Name
                                                                                                   Opened 09/18 Last Active
          Pob 81315                                          When was the debt incurred?           5/31/19
          Cleveland, OH 44181
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community            Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Charge Account


4.2
1         Credit One Bank                                    Last 4 digits of account number       1161                                             $0.00
          Nonpriority Creditor's Name
                                                                                                   Opened 09/18 Last Active
          Po Box 98872                                       When was the debt incurred?           2/08/19
          Las Vegas, NV 89193
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community            Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 8 of 32
                                 Case 22-13855-AJC                   Doc 1          Filed 05/16/22               Page 28 of 86
Debtor 1 Yoandy Gil                                                                              Case number (if known)

4.2
2         Discover Financial                                 Last 4 digits of account number       1890                                         $14,084.00
          Nonpriority Creditor's Name
                                                                                                   Opened 06/17 Last Active
          Pob 15316                                          When was the debt incurred?           9/10/18
          Wilmington, DE 19850
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community            Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card


4.2       Fannie Mae Mortgage Loan
3         Company                                            Last 4 digits of account number       0513                                              $0.00
          Nonpriority Creditor's Name
          c/o Timothy J. Mayopoulos, CEO                     When was the debt incurred?
          3900 Wisconsin Avenue, NW
          Washington, DC 20016-2892
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community            Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Notice only


4.2
4         First PREMIER Bank                                 Last 4 digits of account number       7833                                           $706.00
          Nonpriority Creditor's Name
                                                                                                   Opened 09/18 Last Active
          3820 N Louise Ave                                  When was the debt incurred?           12/09/18
          Sioux Falls, SD 57107
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community            Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 9 of 32
                                 Case 22-13855-AJC                   Doc 1          Filed 05/16/22               Page 29 of 86
Debtor 1 Yoandy Gil                                                                              Case number (if known)

4.2       Freddie Mac Mortgage Loan
5         Company                                            Last 4 digits of account number       0513                                              $0.00
          Nonpriority Creditor's Name
          c/o Donald H. Layton, CEO                          When was the debt incurred?
          8200 Jones Branch Dr.
          Mc Lean, VA 22102-3110
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community            Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Notice Only


4.2
6         Hayt Hayt & Landau, PL                             Last 4 digits of account number       CC26                                              $0.00
          Nonpriority Creditor's Name
          7765 SW 87th Ave Ste 101                           When was the debt incurred?
          Miami, FL 33173-2535
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community            Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Attorney for Plaintiff


4.2
7         Homestead Hospital                                 Last 4 digits of account number       0513                                         $13,004.00
          Nonpriority Creditor's Name
          Pob 198116                                         When was the debt incurred?
          Atlanta, GA 30384
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community            Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Hospital Services




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 10 of 32
                                 Case 22-13855-AJC                   Doc 1          Filed 05/16/22               Page 30 of 86
Debtor 1 Yoandy Gil                                                                              Case number (if known)

4.2
8         Honorable Ariana Fajardo Orshan                    Last 4 digits of account number       0513                                             $0.00
          Nonpriority Creditor's Name
          US Attorney for Southern District                  When was the debt incurred?
          99 NE 4 St
          Miami, FL 33132
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community            Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Notice only


4.2
9         Honorable William P. Barr                          Last 4 digits of account number       0513                                             $0.00
          Nonpriority Creditor's Name
          Attorney General                                   When was the debt incurred?
          Dept of Justice #4400
          950 Pennsylvania Ave NW
          Washington, DC 20530
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community            Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Notice only


4.3
0         Hyundai Motor Finance                              Last 4 digits of account number       9587                                         $5,931.12
          Nonpriority Creditor's Name
                                                                                                   Opened 10/17 Last Active
          10550 Talbert Av                                   When was the debt incurred?           5/08/19
          Fountain Valley, CA 92708
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community            Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Lease Deficiency




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 11 of 32
                                 Case 22-13855-AJC                   Doc 1          Filed 05/16/22               Page 31 of 86
Debtor 1 Yoandy Gil                                                                              Case number (if known)

4.3
1         Internal Revenue Service                           Last 4 digits of account number       0513                                             $0.00
          Nonpriority Creditor's Name
          Centralized Insolvency Operation                   When was the debt incurred?
          POB 7346
          Philadelphia, PA 19101-7346
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community            Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Notice only


4.3
2         Jefferson Capital Systems, LLC                     Last 4 digits of account number       1003                                         $5,887.00
          Nonpriority Creditor's Name
          16 Mcleland Rd                                     When was the debt incurred?           Opened 5/09/19
          Saint Cloud, MN 56303
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community            Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Factoring Company Account Bbva
             Yes                                                Other. Specify   Compass


4.3
3         Kohls/Capital One                                  Last 4 digits of account number       0330                                         $1,319.00
          Nonpriority Creditor's Name
                                                                                                   Opened 08/18 Last Active
          Po Box 3115                                        When was the debt incurred?           1/23/19
          Milwaukee, WI 53201
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community            Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Charge Account




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 12 of 32
                                 Case 22-13855-AJC                   Doc 1          Filed 05/16/22               Page 32 of 86
Debtor 1 Yoandy Gil                                                                              Case number (if known)

4.3
4         LendingClub                                        Last 4 digits of account number       9517                                         $25,685.00
          Nonpriority Creditor's Name
                                                                                                   Opened 08/18 Last Active
          595 Market St                                      When was the debt incurred?           4/17/19
          San Francisco, CA 94105
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community            Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Unsecured


4.3
5         LVNV Funding/Resurgent Capital                     Last 4 digits of account number       1161                                           $596.00
          Nonpriority Creditor's Name
          C/o Resurgent Capital Services                     When was the debt incurred?           Opened 06/19
          Greenville, SC 29602
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community            Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Factoring Company Account Credit One
             Yes                                                Other. Specify   Bank N.A.


4.3
6         MABTC/Tidewater Credit Services                    Last 4 digits of account number       2898                                          $4,030.00
          Nonpriority Creditor's Name
                                                                                                   Opened 9/04/18 Last Active
          Po Box 13306                                       When was the debt incurred?           5/31/19
          Virginia Beach, VA 23464
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community            Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Charge Account
             Yes                                                Other. Specify   Lawsuit Case No. 19-026568-SP-23




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 13 of 32
                                 Case 22-13855-AJC                   Doc 1          Filed 05/16/22               Page 33 of 86
Debtor 1 Yoandy Gil                                                                              Case number (if known)

4.3
7         Midland Fund                                       Last 4 digits of account number       5354                                         $11,683.00
          Nonpriority Creditor's Name
          320 East Big Beaver                                When was the debt incurred?           Opened 05/19
          Troy, MI 48083
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community            Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Factoring Company Account Citibank N.A.


4.3
8         Midland Fund                                       Last 4 digits of account number       1893                                           $848.00
          Nonpriority Creditor's Name
          320 East Big Beaver                                When was the debt incurred?           Opened 06/19
          Troy, MI 48083
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community            Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Factoring Company Account Citibank N.A.


4.3
9         Mr. Cooper                                         Last 4 digits of account number       4745                                              $0.00
          Nonpriority Creditor's Name
                                                                                                   Opened 2/08/17 Last Active
          350 Highland                                       When was the debt incurred?           1/31/18
          Houston, TX 77067
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community            Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Notice only




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 14 of 32
                                 Case 22-13855-AJC                   Doc 1          Filed 05/16/22               Page 34 of 86
Debtor 1 Yoandy Gil                                                                              Case number (if known)

4.4
0         Navient                                            Last 4 digits of account number       1009                                             $0.00
          Nonpriority Creditor's Name
                                                                                                   Opened 10/12 Last Active
          Po Box 9635                                        When was the debt incurred?           2/12/20
          Wilkes Barre, PA 18773
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
              Check if this claim is for a community            Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify
                                                                                 Notice only
4.4
1         Navient                                            Last 4 digits of account number       1227                                             $0.00
          Nonpriority Creditor's Name
                                                                                                   Opened 12/13 Last Active
          Po Box 9635                                        When was the debt incurred?           2/12/20
          Wilkes Barre, PA 18773
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
              Check if this claim is for a community            Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify
                                                                                 Notice only
4.4
2         Navient                                            Last 4 digits of account number       0811                                             $0.00
          Nonpriority Creditor's Name
                                                                                                   Opened 08/16 Last Active
          Po Box 9635                                        When was the debt incurred?           2/12/20
          Wilkes Barre, PA 18773
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
              Check if this claim is for a community            Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify
                                                                                 Notice only




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 15 of 32
                                 Case 22-13855-AJC                   Doc 1          Filed 05/16/22               Page 35 of 86
Debtor 1 Yoandy Gil                                                                              Case number (if known)

4.4
3         Navient                                            Last 4 digits of account number       1227                                             $0.00
          Nonpriority Creditor's Name
                                                                                                   Opened 12/13 Last Active
          Po Box 9635                                        When was the debt incurred?           2/12/20
          Wilkes Barre, PA 18773
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
              Check if this claim is for a community            Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify
                                                                                 Notice only
4.4
4         Navient                                            Last 4 digits of account number       0416                                             $0.00
          Nonpriority Creditor's Name
                                                                                                   Opened 04/18 Last Active
          Po Box 9635                                        When was the debt incurred?           2/12/20
          Wilkes Barre, PA 18773
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
              Check if this claim is for a community            Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify
                                                                                 Notice only
4.4
5         Navient                                            Last 4 digits of account number       1009                                             $0.00
          Nonpriority Creditor's Name
                                                                                                   Opened 10/12 Last Active
          Po Box 9635                                        When was the debt incurred?           2/12/20
          Wilkes Barre, PA 18773
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
              Check if this claim is for a community            Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify
                                                                                 Notice only




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 16 of 32
                                 Case 22-13855-AJC                   Doc 1          Filed 05/16/22               Page 36 of 86
Debtor 1 Yoandy Gil                                                                              Case number (if known)

4.4
6         Navient                                            Last 4 digits of account number       0811                                             $0.00
          Nonpriority Creditor's Name
                                                                                                   Opened 08/16 Last Active
          Po Box 9635                                        When was the debt incurred?           2/12/20
          Wilkes Barre, PA 18773
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
              Check if this claim is for a community            Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify
                                                                                 Notice only
4.4
7         Navient                                            Last 4 digits of account number       1217                                             $0.00
          Nonpriority Creditor's Name
                                                                                                   Opened 12/15 Last Active
          Po Box 9635                                        When was the debt incurred?           2/12/20
          Wilkes Barre, PA 18773
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
              Check if this claim is for a community            Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify
                                                                                 Notice only
4.4
8         Navient                                            Last 4 digits of account number       0521                                             $0.00
          Nonpriority Creditor's Name
                                                                                                   Opened 05/09 Last Active
          Po Box 9635                                        When was the debt incurred?           2/12/20
          Wilkes Barre, PA 18773
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
              Check if this claim is for a community            Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify
                                                                                 Notice only




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 17 of 32
                                 Case 22-13855-AJC                   Doc 1          Filed 05/16/22               Page 37 of 86
Debtor 1 Yoandy Gil                                                                              Case number (if known)

4.4
9         Navient                                            Last 4 digits of account number       0301                                             $0.00
          Nonpriority Creditor's Name
                                                                                                   Opened 03/10 Last Active
          Po Box 9635                                        When was the debt incurred?           2/12/20
          Wilkes Barre, PA 18773
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
              Check if this claim is for a community            Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify
                                                                                 Notice only
4.5
0         Naviet                                             Last 4 digits of account number       1009                                             $0.00
          Nonpriority Creditor's Name
                                                                                                   Opened 10/09/12 Last Active
          Po Box 9635                                        When was the debt incurred?           1/07/20
          Wilkes Barre, PA 18773
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
              Check if this claim is for a community            Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify
                                                                                 Notice only
4.5
1         Naviet                                             Last 4 digits of account number       1227                                             $0.00
          Nonpriority Creditor's Name
                                                                                                   Opened 12/27/13 Last Active
          Po Box 9635                                        When was the debt incurred?           1/07/20
          Wilkes Barre, PA 18773
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
              Check if this claim is for a community            Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify
                                                                                 Notice only




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 18 of 32
                                 Case 22-13855-AJC                   Doc 1          Filed 05/16/22               Page 38 of 86
Debtor 1 Yoandy Gil                                                                              Case number (if known)

4.5
2         Naviet                                             Last 4 digits of account number       0811                                             $0.00
          Nonpriority Creditor's Name
                                                                                                   Opened 8/11/16 Last Active
          Po Box 9635                                        When was the debt incurred?           1/07/20
          Wilkes Barre, PA 18773
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
              Check if this claim is for a community            Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify
                                                                                 Notice only
4.5
3         Naviet                                             Last 4 digits of account number       1227                                             $0.00
          Nonpriority Creditor's Name
                                                                                                   Opened 12/27/13 Last Active
          Po Box 9635                                        When was the debt incurred?           1/07/20
          Wilkes Barre, PA 18773
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
              Check if this claim is for a community            Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify
                                                                                 Notice only
4.5
4         Naviet                                             Last 4 digits of account number       1009                                             $0.00
          Nonpriority Creditor's Name
                                                                                                   Opened 10/09/12 Last Active
          Po Box 9635                                        When was the debt incurred?           1/07/20
          Wilkes Barre, PA 18773
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
              Check if this claim is for a community            Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify
                                                                                 Notice only




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 19 of 32
                                 Case 22-13855-AJC                   Doc 1          Filed 05/16/22               Page 39 of 86
Debtor 1 Yoandy Gil                                                                              Case number (if known)

4.5
5         Naviet                                             Last 4 digits of account number       0811                                             $0.00
          Nonpriority Creditor's Name
                                                                                                   Opened 8/11/16 Last Active
          Po Box 9635                                        When was the debt incurred?           1/07/20
          Wilkes Barre, PA 18773
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
              Check if this claim is for a community            Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify
                                                                                 Notice only
4.5
6         Naviet                                             Last 4 digits of account number       0301                                             $0.00
          Nonpriority Creditor's Name
                                                                                                   Opened 3/01/10 Last Active
          Po Box 9635                                        When was the debt incurred?           1/07/20
          Wilkes Barre, PA 18773
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
              Check if this claim is for a community            Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify
                                                                                 Notice only
4.5
7         Olympia, LLP                                       Last 4 digits of account number       0513                                             $1.00
          Nonpriority Creditor's Name
          Pob 025278                                         When was the debt incurred?
          Miami, FL 33102
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community            Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Miscellaneous




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 20 of 32
                                 Case 22-13855-AJC                   Doc 1          Filed 05/16/22               Page 40 of 86
Debtor 1 Yoandy Gil                                                                              Case number (if known)

4.5
8         Portfolio Recovery                                 Last 4 digits of account number       1068                                          $8,552.00
          Nonpriority Creditor's Name
          120 Corporate Blvd Ste 100                         When was the debt incurred?           Opened 05/19
          Norfolk, VA 23502
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community            Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Factoring Company Account Synchrony
             Yes                                                Other. Specify   Bank


4.5
9         Portfolio Recovery                                 Last 4 digits of account number       8513                                          $4,882.00
          Nonpriority Creditor's Name
          120 Corporate Blvd Ste 100                         When was the debt incurred?           Opened 06/19
          Norfolk, VA 23502
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community            Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Factoring Company Account Citibank N.A.


4.6
0         Prosper Funding LLC                                Last 4 digits of account number       1835                                         $13,447.00
          Nonpriority Creditor's Name
                                                                                                   Opened 03/18 Last Active
          221 Main Street                                    When was the debt incurred?           9/20/18
          San Francisco, CA 94105
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community            Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Unsecured




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 21 of 32
                                 Case 22-13855-AJC                   Doc 1          Filed 05/16/22               Page 41 of 86
Debtor 1 Yoandy Gil                                                                              Case number (if known)

4.6
1         Sears                                              Last 4 digits of account number       0513                                         $4,000.00
          Nonpriority Creditor's Name
          POB 9001055                                        When was the debt incurred?
          Louisville, KY 40290
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community            Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit card


4.6
2         Space Coast Credit Union                           Last 4 digits of account number       4280                                         $1,092.00
          Nonpriority Creditor's Name
                                                                                                   Opened 01/14 Last Active
          8045 N Wickham Rd                                  When was the debt incurred?           1/01/19
          Melbourne, FL 32940
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community            Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card


4.6
3         Space Coast Credit Union                           Last 4 digits of account number       4221                                             $0.00
          Nonpriority Creditor's Name
                                                                                                   Opened 01/14 Last Active
          8045 N Wickham Rd                                  When was the debt incurred?           9/05/14
          Melbourne, FL 32940
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community            Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Notice only




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 22 of 32
                                 Case 22-13855-AJC                   Doc 1          Filed 05/16/22               Page 42 of 86
Debtor 1 Yoandy Gil                                                                              Case number (if known)

4.6
4         Space Coast Credit Union                           Last 4 digits of account number       1483                                             $0.00
          Nonpriority Creditor's Name
                                                                                                   Opened 11/11 Last Active
          8045 N Wickham Rd                                  When was the debt incurred?           1/31/14
          Melbourne, FL 32940
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community            Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Line Secured


4.6
5         Space Coast Credit Union                           Last 4 digits of account number       4223                                             $0.00
          Nonpriority Creditor's Name
                                                                                                   Opened 07/15 Last Active
          8045 N Wickham Rd                                  When was the debt incurred?           6/09/17
          Melbourne, FL 32940
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community            Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Notice only


4.6
6         Space Coast Credit Union                           Last 4 digits of account number       4222                                             $0.00
          Nonpriority Creditor's Name
                                                                                                   Opened 02/15 Last Active
          8045 N Wickham Rd                                  When was the debt incurred?           7/27/15
          Melbourne, FL 32940
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community            Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Notice only




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 23 of 32
                                 Case 22-13855-AJC                   Doc 1          Filed 05/16/22               Page 43 of 86
Debtor 1 Yoandy Gil                                                                              Case number (if known)

4.6
7         Sprechman & Associates, P.A.                       Last 4 digits of account number       SP23                                             $0.00
          Nonpriority Creditor's Name
          2775 Sunny Isles Blvd., #100                       When was the debt incurred?
          North Miami Beach, FL 33160
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community            Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Attorney for Plaintiff


4.6
8         Synch/Brandsmart                                   Last 4 digits of account number       1068                                             $0.00
          Nonpriority Creditor's Name
          POB 965036                                         When was the debt incurred?
          Orlando, FL 32896
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community            Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit card


4.6
9         Synch/Rooms To Go                                  Last 4 digits of account number       0513                                             $0.00
          Nonpriority Creditor's Name
          2365 Northside Drive, #300                         When was the debt incurred?
          San Diego, CA 92108
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community            Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit card




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 24 of 32
                                 Case 22-13855-AJC                   Doc 1          Filed 05/16/22               Page 44 of 86
Debtor 1 Yoandy Gil                                                                              Case number (if known)

4.7
0         Synchrony Bank/Lowes                               Last 4 digits of account number       6649                                         $2,541.00
          Nonpriority Creditor's Name
                                                                                                   Opened 08/18 Last Active
          Po Box 956005                                      When was the debt incurred?           12/24/18
          Orlando, FL 32896
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community            Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Charge Account


4.7
1         Target                                             Last 4 digits of account number       9041                                          $833.00
          Nonpriority Creditor's Name
                                                                                                   Opened 09/18 Last Active
          Po Box 673                                         When was the debt incurred?           5/04/19
          Minneapolis, MN 55440
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community            Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card


4.7
2         TD Auto Finace                                     Last 4 digits of account number       2810                                         $3,509.00
          Nonpriority Creditor's Name
          POB 9223                                           When was the debt incurred?
          Farmington, MI 48333
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community            Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Repo




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 25 of 32
                                 Case 22-13855-AJC                     Doc 1          Filed 05/16/22                Page 45 of 86
Debtor 1 Yoandy Gil                                                                                Case number (if known)

4.7
3         Tidewater Finance Co                                 Last 4 digits of account number       1418                                                       $0.00
          Nonpriority Creditor's Name
                                                                                                     Opened 04/14 Last Active
          6520 Indian River Rd                                 When was the debt incurred?           11/28/14
          Virginia Beach, VA 23464
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                        Contingent
             Debtor 2 only                                        Unliquidated
             Debtor 1 and Debtor 2 only                           Disputed
             At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community              Student loans
          debt                                                    Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                      report as priority claims

             No                                                   Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                  Other. Specify   Charge Account

Part 3:     List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
Name and Address                                         On which entry in Part 1 or Part 2 did you list the original creditor?
Ally Financial                                           Line 4.1 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
Attn: Bankruptcy                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
Po Box 380901
Bloomington, MN 55438
                                                         Last 4 digits of account number

Name and Address                                         On which entry in Part 1 or Part 2 did you list the original creditor?
Amex                                                     Line 4.2 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
Correspondence/Bankruptcy                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
Po Box 981540
El Paso, TX 79998
                                                         Last 4 digits of account number

Name and Address                                         On which entry in Part 1 or Part 2 did you list the original creditor?
Amex                                                     Line 4.3 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
Correspondence/Bankruptcy                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
Po Box 981540
El Paso, TX 79998
                                                         Last 4 digits of account number

Name and Address                                         On which entry in Part 1 or Part 2 did you list the original creditor?
AR Resources, Inc.                                       Line 4.4 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
Attn: Bankruptcy                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
Po Box 1056
Blue Bell, PA 19422
                                                         Last 4 digits of account number

Name and Address                                         On which entry in Part 1 or Part 2 did you list the original creditor?
Bank of America                                          Line 4.5 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
4909 Savarese Circle                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
Fl1-908-01-50
Tampa, FL 33634
                                                         Last 4 digits of account number

Name and Address                                         On which entry in Part 1 or Part 2 did you list the original creditor?
Barclays Bank Delaware                                   Line 4.6 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
Attn: Bankruptcy                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
Po Box 8801
Wilmington, DE 19899
                                                         Last 4 digits of account number


Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 26 of 32
                        Case 22-13855-AJC           Doc 1          Filed 05/16/22                Page 46 of 86
Debtor 1 Yoandy Gil                                                             Case number (if known)

Name and Address                      On which entry in Part 1 or Part 2 did you list the original creditor?
BBVA Compass Bank                     Line 4.7 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
Attn: Bankruptcy                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
Po Box 10566
Birmingham, AL 35296
                                      Last 4 digits of account number

Name and Address                      On which entry in Part 1 or Part 2 did you list the original creditor?
Capital One                           Line 4.8 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
Attn: Bankruptcy                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
Po Box 30285
Salt Lake City, UT 84130
                                      Last 4 digits of account number

Name and Address                      On which entry in Part 1 or Part 2 did you list the original creditor?
Capital One Auto Finance              Line 4.9 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
Attn: Bankruptcy                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
Po Box 30285
Salt Lake City, UT 84130
                                      Last 4 digits of account number

Name and Address                      On which entry in Part 1 or Part 2 did you list the original creditor?
Capital One Auto Finance              Line 4.10 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Attn: Bankruptcy                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
Po Box 30285
Salt Lake City, UT 84130
                                      Last 4 digits of account number

Name and Address                      On which entry in Part 1 or Part 2 did you list the original creditor?
Cavalry Portfolio Services            Line 4.11 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
500 Summit Lake                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
Suite 400
Valhalla, NY 10595
                                      Last 4 digits of account number

Name and Address                      On which entry in Part 1 or Part 2 did you list the original creditor?
Chase Auto Finance                    Line 4.12 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Attn: Bankruptcy                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
Po Box 901076
Fort Worth, TX 76101
                                      Last 4 digits of account number

Name and Address                      On which entry in Part 1 or Part 2 did you list the original creditor?
Comenity Bank/Express                 Line 4.16 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Attn: Bankruptcy                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
Po Box 182125
Columbus, OH 43218
                                      Last 4 digits of account number

Name and Address                      On which entry in Part 1 or Part 2 did you list the original creditor?
Comenity Bank/Victoria Secret         Line 4.17 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Attn: Bankruptcy                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
Pob 182125
Columbus, OH 43218
                                      Last 4 digits of account number

Name and Address                      On which entry in Part 1 or Part 2 did you list the original creditor?
Comenity/MPRC                         Line 4.18 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Attn: Bankruptcy                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
Po Box 182125
Columbus, OH 43218
                                      Last 4 digits of account number

Name and Address                      On which entry in Part 1 or Part 2 did you list the original creditor?
Comenitycb/el Dorado                  Line 4.19 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Attn: Bankruptcy Dept                                                            Part 2: Creditors with Nonpriority Unsecured Claims
Po Box 182125
Columbus, OH 43218
                                      Last 4 digits of account number

Official Form 106 E/F            Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 27 of 32
                        Case 22-13855-AJC              Doc 1          Filed 05/16/22                Page 47 of 86
Debtor 1 Yoandy Gil                                                                Case number (if known)


Name and Address                         On which entry in Part 1 or Part 2 did you list the original creditor?
Credit First National Association        Line 4.20 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Attn: Bankruptcy                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
Po Box 81315
Cleveland, OH 44181
                                         Last 4 digits of account number

Name and Address                         On which entry in Part 1 or Part 2 did you list the original creditor?
Credit One Bank                          Line 4.21 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Attn: Bankruptcy Department                                                         Part 2: Creditors with Nonpriority Unsecured Claims
Po Box 98873
Las Vegas, NV 89193
                                         Last 4 digits of account number

Name and Address                         On which entry in Part 1 or Part 2 did you list the original creditor?
Discover Financial                       Line 4.22 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Attn: Bankruptcy                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
Po Box 3025
New Albany, OH 43054
                                         Last 4 digits of account number

Name and Address                         On which entry in Part 1 or Part 2 did you list the original creditor?
First PREMIER Bank                       Line 4.24 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Attn: Bankruptcy                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
Po Box 5524
Sioux Falls, SD 57117
                                         Last 4 digits of account number

Name and Address                         On which entry in Part 1 or Part 2 did you list the original creditor?
Hyundai Motor Finance                    Line 4.30 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Attn: Bankruptcy                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
Po Box 20809
Fountain Valley, CA 92728
                                         Last 4 digits of account number

Name and Address                         On which entry in Part 1 or Part 2 did you list the original creditor?
Jefferson Capital Systems, LLC           Line 4.32 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Attn: Bankruptcy                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
16 Mcleland Road
Saint Cloud, MN 56303
                                         Last 4 digits of account number

Name and Address                         On which entry in Part 1 or Part 2 did you list the original creditor?
Kohls/Capital One                        Line 4.33 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Attn: Credit Administrator                                                          Part 2: Creditors with Nonpriority Unsecured Claims
Po Box 3043
Milwaukee, WI 53201
                                         Last 4 digits of account number

Name and Address                         On which entry in Part 1 or Part 2 did you list the original creditor?
LendingClub                              Line 4.34 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Attn: Bankruptcy                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
595 Market St, Ste 200
San Francisco, CA 94105
                                         Last 4 digits of account number

Name and Address                         On which entry in Part 1 or Part 2 did you list the original creditor?
LVNV Funding/Resurgent Capital           Line 4.35 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Attn: Bankruptcy                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
Po Box 10497
Greenville, SC 29603
                                         Last 4 digits of account number

Name and Address                         On which entry in Part 1 or Part 2 did you list the original creditor?
MABTC/Tidewater Credit Services          Line 4.36 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Attn: Bankruptcy                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
Po Box 13306
Chesapeake, VA 23325
Official Form 106 E/F               Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 28 of 32
                         Case 22-13855-AJC           Doc 1          Filed 05/16/22                Page 48 of 86
Debtor 1 Yoandy Gil                                                              Case number (if known)

                                       Last 4 digits of account number

Name and Address                       On which entry in Part 1 or Part 2 did you list the original creditor?
Midland Fund                           Line 4.37 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Attn: Bankruptcy                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
350 Camino De La Reine Ste 100
San Diego, CA 92108
                                       Last 4 digits of account number

Name and Address                       On which entry in Part 1 or Part 2 did you list the original creditor?
Midland Fund                           Line 4.38 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Attn: Bankruptcy                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
350 Camino De La Reine Ste 100
San Diego, CA 92108
                                       Last 4 digits of account number

Name and Address                       On which entry in Part 1 or Part 2 did you list the original creditor?
Mr. Cooper                             Line 4.39 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Attn: Bankruptcy                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
Po Box 619098
Dallas, TX 75261
                                       Last 4 digits of account number

Name and Address                       On which entry in Part 1 or Part 2 did you list the original creditor?
Navient                                Line 4.40 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Attn: Bankruptcy                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
Po Box 9640
Wilkes-Barre, PA 18773
                                       Last 4 digits of account number

Name and Address                       On which entry in Part 1 or Part 2 did you list the original creditor?
Navient                                Line 4.41 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Attn: Bankruptcy                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
Po Box 9640
Wilkes-Barre, PA 18773
                                       Last 4 digits of account number

Name and Address                       On which entry in Part 1 or Part 2 did you list the original creditor?
Navient                                Line 4.42 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Attn: Bankruptcy                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
Po Box 9640
Wilkes-Barre, PA 18773
                                       Last 4 digits of account number

Name and Address                       On which entry in Part 1 or Part 2 did you list the original creditor?
Navient                                Line 4.43 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Attn: Bankruptcy                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
Po Box 9640
Wilkes-Barre, PA 18773
                                       Last 4 digits of account number

Name and Address                       On which entry in Part 1 or Part 2 did you list the original creditor?
Navient                                Line 4.44 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Attn: Bankruptcy                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
Po Box 9640
Wilkes-Barre, PA 18773
                                       Last 4 digits of account number

Name and Address                       On which entry in Part 1 or Part 2 did you list the original creditor?
Navient                                Line 4.45 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Attn: Bankruptcy                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
Po Box 9640
Wilkes-Barre, PA 18773
                                       Last 4 digits of account number

Name and Address                       On which entry in Part 1 or Part 2 did you list the original creditor?
Navient                                Line 4.46 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Attn: Bankruptcy                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
Po Box 9640

Official Form 106 E/F             Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 29 of 32
                         Case 22-13855-AJC           Doc 1          Filed 05/16/22                Page 49 of 86
Debtor 1 Yoandy Gil                                                              Case number (if known)

Wilkes-Barre, PA 18773
                                       Last 4 digits of account number

Name and Address                       On which entry in Part 1 or Part 2 did you list the original creditor?
Navient                                Line 4.47 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Attn: Bankruptcy                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
Po Box 9640
Wilkes-Barre, PA 18773
                                       Last 4 digits of account number

Name and Address                       On which entry in Part 1 or Part 2 did you list the original creditor?
Navient                                Line 4.48 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Attn: Bankruptcy                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
Po Box 9640
Wilkes-Barre, PA 18773
                                       Last 4 digits of account number

Name and Address                       On which entry in Part 1 or Part 2 did you list the original creditor?
Navient                                Line 4.49 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Attn: Bankruptcy                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
Po Box 9640
Wilkes-Barre, PA 18773
                                       Last 4 digits of account number

Name and Address                       On which entry in Part 1 or Part 2 did you list the original creditor?
Naviet                                 Line 4.50 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Attn: Claims Dept                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
Po Box 9500
Wilkes-Barr, PA 19773
                                       Last 4 digits of account number

Name and Address                       On which entry in Part 1 or Part 2 did you list the original creditor?
Naviet                                 Line 4.51 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Attn: Claims Dept                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
Po Box 9500
Wilkes-Barr, PA 19773
                                       Last 4 digits of account number

Name and Address                       On which entry in Part 1 or Part 2 did you list the original creditor?
Naviet                                 Line 4.52 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Attn: Claims Dept                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
Po Box 9500
Wilkes-Barr, PA 19773
                                       Last 4 digits of account number

Name and Address                       On which entry in Part 1 or Part 2 did you list the original creditor?
Naviet                                 Line 4.53 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Attn: Claims Dept                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
Po Box 9500
Wilkes-Barr, PA 19773
                                       Last 4 digits of account number

Name and Address                       On which entry in Part 1 or Part 2 did you list the original creditor?
Naviet                                 Line 4.54 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Attn: Claims Dept                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
Po Box 9500
Wilkes-Barr, PA 19773
                                       Last 4 digits of account number

Name and Address                       On which entry in Part 1 or Part 2 did you list the original creditor?
Naviet                                 Line 4.55 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Attn: Claims Dept                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
Po Box 9500
Wilkes-Barr, PA 19773
                                       Last 4 digits of account number

Name and Address                       On which entry in Part 1 or Part 2 did you list the original creditor?
Naviet                                 Line 4.56 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Attn: Claims Dept

Official Form 106 E/F             Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 30 of 32
                        Case 22-13855-AJC           Doc 1          Filed 05/16/22                Page 50 of 86
Debtor 1 Yoandy Gil                                                             Case number (if known)

Po Box 9500                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
Wilkes-Barr, PA 19773
                                      Last 4 digits of account number

Name and Address                      On which entry in Part 1 or Part 2 did you list the original creditor?
Portfolio Recovery                    Line 4.58 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Attn: Bankruptcy                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
120 Corporate Blvd
Norfold, VA 23502
                                      Last 4 digits of account number

Name and Address                      On which entry in Part 1 or Part 2 did you list the original creditor?
Portfolio Recovery                    Line 4.59 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Attn: Bankruptcy                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
120 Corporate Blvd
Norfold, VA 23502
                                      Last 4 digits of account number

Name and Address                      On which entry in Part 1 or Part 2 did you list the original creditor?
Prosper Funding LLC                   Line 4.60 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
221 Main Street                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
Suite 300
San Francisco, CA 94105
                                      Last 4 digits of account number

Name and Address                      On which entry in Part 1 or Part 2 did you list the original creditor?
Space Coast Credit Union              Line 4.62 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Attn: Bankruptcy                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
8045 North Wickham Road
Melbourne, FL 32940
                                      Last 4 digits of account number

Name and Address                      On which entry in Part 1 or Part 2 did you list the original creditor?
Space Coast Credit Union              Line 4.63 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Attn: Bankruptcy                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
8045 North Wickham Road
Melbourne, FL 32940
                                      Last 4 digits of account number

Name and Address                      On which entry in Part 1 or Part 2 did you list the original creditor?
Space Coast Credit Union              Line 4.64 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Attn: Bankruptcy                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
8045 North Wickham Road
Melbourne, FL 32940
                                      Last 4 digits of account number

Name and Address                      On which entry in Part 1 or Part 2 did you list the original creditor?
Space Coast Credit Union              Line 4.65 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Attn: Bankruptcy                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
8045 North Wickham Road
Melbourne, FL 32940
                                      Last 4 digits of account number

Name and Address                      On which entry in Part 1 or Part 2 did you list the original creditor?
Space Coast Credit Union              Line 4.66 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Attn: Bankruptcy                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
8045 North Wickham Road
Melbourne, FL 32940
                                      Last 4 digits of account number

Name and Address                      On which entry in Part 1 or Part 2 did you list the original creditor?
Synchrony Bank/Lowes                  Line 4.70 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Attn: Bankruptcy                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
Po Box 965060
Orlando, FL 32896
                                      Last 4 digits of account number

Name and Address                      On which entry in Part 1 or Part 2 did you list the original creditor?
Target                                Line 4.71 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims

Official Form 106 E/F            Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 31 of 32
                                    Case 22-13855-AJC                       Doc 1         Filed 05/16/22                Page 51 of 86
Debtor 1 Yoandy Gil                                                                                     Case number (if known)

c/o Financial & Retail Srvs                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
Mailstop BT POB 9475
Minneapolis, MN 55440
                                                             Last 4 digits of account number

Name and Address                                             On which entry in Part 1 or Part 2 did you list the original creditor?
Tidewater Finance Co                                         Line 4.73 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Attn: Bankruptcy                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
6520 Indian River Rd
Virginia Beach, VA 23464
                                                             Last 4 digits of account number


Part 4:       Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                              Total Claim
                        6a.   Domestic support obligations                                                6a.       $                           0.00
Total
claims
from Part 1             6b.   Taxes and certain other debts you owe the government                        6b.       $                           0.00
                        6c.   Claims for death or personal injury while you were intoxicated              6c.       $                           0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.     6d.       $                           0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                    6e.       $                           0.00

                                                                                                                              Total Claim
                        6f.   Student loans                                                               6f.       $                           0.00
Total
claims
from Part 2             6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                       6g.       $                           0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts           6h.       $                           0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount        6i.
                              here.                                                                                 $                  162,083.61

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                 6j.       $                  162,083.61




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 32 of 32
                                       Case 22-13855-AJC                       Doc 1   Filed 05/16/22         Page 52 of 86


Fill in this information to identify your case:

Debtor 1                  Yoandy Gil
                          First Name                         Middle Name               Last Name

Debtor 2
(Spouse if, filing)       First Name                         Middle Name               Last Name


United States Bankruptcy Court for the:               SOUTHERN DISTRICT OF FLORIDA

Case number
(if known)                                                                                                                             Check if this is an
                                                                                                                                       amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                   12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
             No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


        Person or company with whom you have the contract or lease                       State what the contract or lease is for
                          Name, Number, Street, City, State and ZIP Code
 2.1
          Name


          Number        Street

          City                                     State                   ZIP Code
 2.2
          Name


          Number        Street

          City                                     State                   ZIP Code
 2.3
          Name


          Number        Street

          City                                     State                   ZIP Code
 2.4
          Name


          Number        Street

          City                                     State                   ZIP Code
 2.5
          Name


          Number        Street

          City                                     State                   ZIP Code




Official Form 106G                                Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 1
                                        Case 22-13855-AJC                      Doc 1   Filed 05/16/22      Page 53 of 86


Fill in this information to identify your case:

Debtor 1                   Yoandy Gil
                           First Name                            Middle Name           Last Name

Debtor 2
(Spouse if, filing)        First Name                            Middle Name           Last Name


United States Bankruptcy Court for the:                 SOUTHERN DISTRICT OF FLORIDA

Case number
(if known)                                                                                                                       Check if this is an
                                                                                                                                 amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                       12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

      1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

          No
          Yes

      2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

          No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


  3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
     in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
     Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
     out Column 2.

               Column 1: Your codebtor                                                                 Column 2: The creditor to whom you owe the debt
               Name, Number, Street, City, State and ZIP Code                                          Check all schedules that apply:

   3.1                                                                                                   Schedule D, line
               Name
                                                                                                         Schedule E/F, line
                                                                                                         Schedule G, line
               Number             Street
               City                                      State                          ZIP Code




   3.2                                                                                                   Schedule D, line
               Name
                                                                                                         Schedule E/F, line
                                                                                                         Schedule G, line
               Number             Street
               City                                      State                          ZIP Code




Official Form 106H                                                                 Schedule H: Your Codebtors                                 Page 1 of 1
                                  Case 22-13855-AJC               Doc 1       Filed 05/16/22           Page 54 of 86



Fill in this information to identify your case:

Debtor 1                      Yoandy Gil

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       SOUTHERN DISTRICT OF FLORIDA

Case number                                                                                             Check if this is:
(If known)
                                                                                                           An amended filing
                                                                                                           A supplement showing postpetition chapter
                                                                                                           13 income as of the following date:

Official Form 106I                                                                                         MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                   Employed
       attach a separate page with           Employment status
                                                                      Not employed                               Not employed
       information about additional
       employers.
                                             Occupation            Unemployed
       Include part-time, seasonal, or
       self-employed work.                   Employer's name

       Occupation may include student        Employer's address
       or homemaker, if it applies.


                                             How long employed there?

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1       For Debtor 2 or
                                                                                                                         non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $             0.00     $               N/A

3.     Estimate and list monthly overtime pay.                                              3.   +$             0.00     +$              N/A

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $          0.00            $        N/A




Official Form 106I                                                      Schedule I: Your Income                                                 page 1
                             Case 22-13855-AJC                 Doc 1        Filed 05/16/22               Page 55 of 86


Debtor 1   Yoandy Gil                                                                            Case number (if known)



                                                                                                     For Debtor 1            For Debtor 2 or
                                                                                                                             non-filing spouse
     Copy line 4 here                                                                     4.         $              0.00     $             N/A

5.   List all payroll deductions:
     5a.    Tax, Medicare, and Social Security deductions                                 5a.        $              0.00     $               N/A
     5b.    Mandatory contributions for retirement plans                                  5b.        $              0.00     $               N/A
     5c.    Voluntary contributions for retirement plans                                  5c.        $              0.00     $               N/A
     5d.    Required repayments of retirement fund loans                                  5d.        $              0.00     $               N/A
     5e.    Insurance                                                                     5e.        $              0.00     $               N/A
     5f.    Domestic support obligations                                                  5f.        $              0.00     $               N/A
     5g.    Union dues                                                                    5g.        $              0.00     $               N/A
     5h.    Other deductions. Specify:                                                    5h.+       $              0.00 +   $               N/A
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00     $               N/A
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $                  0.00     $               N/A
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $              0.00     $               N/A
     8b. Interest and dividends                                                           8b.        $              0.00     $               N/A
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $              0.00     $               N/A
     8d. Unemployment compensation                                                        8d.        $              0.00     $               N/A
     8e. Social Security                                                                  8e.        $              0.00     $               N/A
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.  $                0.00   $                     N/A
     8g. Pension or retirement income                                                     8g. $                 0.00   $                     N/A
     8h. Other monthly income. Specify: Student Loans                                     8h.+ $            1,333.33 + $                     N/A
            Savings / Stocks                                                                   $            2,050.00   $                     N/A

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          3,383.33         $               N/A

10. Calculate monthly income. Add line 7 + line 9.                                    10. $              3,383.33 + $             N/A = $          3,383.33
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                   0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                        12.   $         3,383.33
                                                                                                                                         Combined
                                                                                                                                         monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain: Debtor is living of student loan and money from trading investment.




Official Form 106I                                                     Schedule I: Your Income                                                      page 2
                                Case 22-13855-AJC                     Doc 1        Filed 05/16/22            Page 56 of 86



Fill in this information to identify your case:

Debtor 1                 Yoandy Gil                                                                        Check if this is:
                                                                                                               An amended filing
Debtor 2                                                                                                       A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   SOUTHERN DISTRICT OF FLORIDA                                               MM / DD / YYYY

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.
                                                   Fill out this information for   Dependent’s relationship to          Dependent’s    Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age            live with you?

      Do not state the                                                                                                                      No
      dependents names.                                                            Son                                  4 Months            Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                            1,950.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                             0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                             0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                           150.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                             0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                             0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                          page 1
                              Case 22-13855-AJC                      Doc 1         Filed 05/16/22              Page 57 of 86


Debtor 1     Yoandy Gil                                                                                Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                 120.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                   0.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                   0.00
      6d. Other. Specify: cell phone                                                         6d. $                                                 110.00
7.    Food and housekeeping supplies                                                           7. $                                                500.00
8.    Childcare and children’s education costs                                                 8. $                                                  0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                  0.00
10.   Personal care products and services                                                    10. $                                                   0.00
11.   Medical and dental expenses                                                            11. $                                                   0.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 110.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                   0.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    0.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                   30.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
      17c. Other. Specify:                                                                 17c. $                                                     0.00
      17d. Other. Specify:                                                                 17d. $                                                     0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                 400.00
19.   Other payments you make to support others who do not live with you.                         $                                                  0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                     0.00
      20b. Real estate taxes                                                               20b. $                                                     0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21.   Other: Specify:                                                                        21. +$                                                   0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       3,370.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       3,370.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               3,383.33
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              3,370.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                  13.33

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
                                         Case 22-13855-AJC        Doc 1      Filed 05/16/22          Page 58 of 86




Fill in this information to identify your case:

Debtor 1                    Yoandy Gil
                            First Name              Middle Name              Last Name

Debtor 2
(Spouse if, filing)         First Name              Middle Name              Last Name


United States Bankruptcy Court for the:          SOUTHERN DISTRICT OF FLORIDA

Case number
(if known)                                                                                                                     Check if this is an
                                                                                                                               amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                   12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                      Sign Below


       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

               No

               Yes. Name of person                                                                       Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                         Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.

       X /s/ Yoandy Gil                                                      X
             Yoandy Gil                                                          Signature of Debtor 2
             Signature of Debtor 1

             Date       May 16, 2022                                             Date




Official Form 106Dec                                Declaration About an Individual Debtor's Schedules
                                       Case 22-13855-AJC               Doc 1        Filed 05/16/22             Page 59 of 86




Fill in this information to identify your case:

Debtor 1                  Yoandy Gil
                          First Name                  Middle Name                   Last Name

Debtor 2
(Spouse if, filing)       First Name                  Middle Name                   Last Name


United States Bankruptcy Court for the:          SOUTHERN DISTRICT OF FLORIDA

Case number
(if known)                                                                                                                              Check if this is an
                                                                                                                                        amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                          04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.    What is your current marital status?

              Married
              Not married

2.    During the last 3 years, have you lived anywhere other than where you live now?

              No
              Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

       Debtor 1:                                          Dates Debtor 1               Debtor 2 Prior Address:                              Dates Debtor 2
                                                          lived there                                                                       lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

              No
              Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Part 2         Explain the Sources of Your Income

4.    Did you have any income from employment or from operating a business during this year or the two previous calendar years?
      Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
      If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

              No
              Yes. Fill in the details.

                                               Debtor 1                                                       Debtor 2
                                               Sources of income               Gross income                   Sources of income             Gross income
                                               Check all that apply.           (before deductions and         Check all that apply.         (before deductions
                                                                               exclusions)                                                  and exclusions)

For last calendar year:                          Wages, commissions,                         $3,090.00          Wages, commissions,
(January 1 to December 31, 2021 )              bonuses, tips                                                  bonuses, tips

                                                  Operating a business                                           Operating a business




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1
                                 Case 22-13855-AJC                      Doc 1        Filed 05/16/22             Page 60 of 86
Debtor 1     Yoandy Gil                                                                                Case number (if known)



                                                Debtor 1                                                       Debtor 2
                                                Sources of income               Gross income                   Sources of income            Gross income
                                                Check all that apply.           (before deductions and         Check all that apply.        (before deductions
                                                                                exclusions)                                                 and exclusions)

For the calendar year before that:                Wages, commissions,                       $65,745.00           Wages, commissions,
(January 1 to December 31, 2020 )               bonuses, tips                                                  bonuses, tips

                                                   Operating a business                                           Operating a business


5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
     and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
     winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.

                                                Debtor 1                                                       Debtor 2
                                                Sources of income               Gross income from              Sources of income            Gross income
                                                Describe below.                 each source                    Describe below.              (before deductions
                                                                                (before deductions and                                      and exclusions)
                                                                                exclusions)

Part 3:     List Certain Payments You Made Before You Filed for Bankruptcy

6.   Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
          No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?
                        No.     Go to line 7.
                        Yes     List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
                                paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                not include payments to an attorney for this bankruptcy case.
                    * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                        No.     Go to line 7.
                        Yes     List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                attorney for this bankruptcy case.


      Creditor's Name and Address                          Dates of payment              Total amount          Amount you       Was this payment for ...
                                                                                                 paid            still owe

7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
     of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
     a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
     alimony.

           No
           Yes. List all payments to an insider.
      Insider's Name and Address                           Dates of payment              Total amount          Amount you       Reason for this payment
                                                                                                 paid            still owe




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 2
                                 Case 22-13855-AJC                   Doc 1         Filed 05/16/22             Page 61 of 86
Debtor 1     Yoandy Gil                                                                              Case number (if known)



8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
     insider?
     Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments to an insider
      Insider's Name and Address                         Dates of payment              Total amount          Amount you        Reason for this payment
                                                                                               paid            still owe       Include creditor's name

Part 4:     Identify Legal Actions, Repossessions, and Foreclosures

9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
     modifications, and contract disputes.

           No
           Yes. Fill in the details.
      Case title                                         Nature of the case           Court or agency                          Status of the case
      Case number
      Cavalry SPV I, LLC                                 Credit Card                  In the County Court, In and                 Pending
      vs;                                                                             For                                         On appeal
      Yoandy Gil                                                                      Miami Dade County, FL
                                                                                                                                  Concluded
      20-000526-CC-26

      Tidewater Finance Company                          Credit Card                  In the County Court, In and                 Pending
      vs                                                                              For                                         On appeal
      Yoandy Gil                                                                      Miami Dade County
                                                                                                                                  Concluded
      19-026568-SP-23


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.
      Creditor Name and Address                          Describe the Property                                          Date                        Value of the
                                                                                                                                                       property
                                                         Explain what happened
      Hyundai Motor Finance                              2018 Hyundai Sonata                                            05/2019                           $0.00
      10550 Talbert Av
      Fountain Valley, CA 92708                              Property was repossessed.
                                                             Property was foreclosed.
                                                             Property was garnished.
                                                             Property was attached, seized or levied.


11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
           No
           Yes. Fill in the details.
      Creditor Name and Address                          Describe the action the creditor took                          Date action was                Amount
                                                                                                                        taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

           No
           Yes




Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 3
                                 Case 22-13855-AJC                       Doc 1         Filed 05/16/22             Page 62 of 86
Debtor 1     Yoandy Gil                                                                                  Case number (if known)



Part 5:     List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
           No
           Yes. Fill in the details for each gift.
      Gifts with a total value of more than $600                   Describe the gifts                                       Dates you gave               Value
      per person                                                                                                            the gifts

      Person to Whom You Gave the Gift and
      Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
           No
           Yes. Fill in the details for each gift or contribution.
      Gifts or contributions to charities that total               Describe what you contributed                            Dates you                    Value
      more than $600                                                                                                        contributed
      Charity's Name
      Address (Number, Street, City, State and ZIP Code)

Part 6:     List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

           No
           Yes. Fill in the details.
      Describe the property you lost and                 Describe any insurance coverage for the loss                       Date of your      Value of property
      how the loss occurred                              Include the amount that insurance has paid. List pending           loss                           lost
                                                         insurance claims on line 33 of Schedule A/B: Property.

Part 7:     List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

           No
           Yes. Fill in the details.
      Person Who Was Paid                                          Description and value of any property                    Date payment            Amount of
      Address                                                      transferred                                              or transfer was          payment
      Email or website address                                                                                              made
      Person Who Made the Payment, if Not You
      Law Office of Patrick L. Cordero, PA                         3/24/2022 $1,475.00                                                              $2,600.00
      7333 Coral Way                                               4/29/2022 $1,500.00
      Miami, FL 33155                                              Attorney fees.


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.
      Person Who Was Paid                                          Description and value of any property                    Date payment            Amount of
      Address                                                      transferred                                              or transfer was          payment
                                                                                                                            made




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 4
                                 Case 22-13855-AJC                        Doc 1          Filed 05/16/22           Page 63 of 86
Debtor 1      Yoandy Gil                                                                                 Case number (if known)



18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
         No
           Yes. Fill in the details.
      Person Who Received Transfer                                 Description and value of                   Describe any property or     Date transfer was
      Address                                                      property transferred                       payments received or debts   made
                                                                                                              paid in exchange
      Person's relationship to you
      Thalia Mesa Alvarez                                          Debtor transfer mobile home                                             01/2020
      11273 NW 6th Terr                                            (located at 11256 NW 6th St.,
      Miami, FL 33172                                              Miami, FL ) to ex spouse
                                                                   per divorce agrement
      ex wife


19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.
      Name of trust                                                Description and value of the property transferred                       Date Transfer was
                                                                                                                                           made

Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
           No
           Yes. Fill in the details.
      Name of Financial Institution and                      Last 4 digits of             Type of account or          Date account was          Last balance
      Address (Number, Street, City, State and ZIP           account number               instrument                  closed, sold,         before closing or
      Code)                                                                                                           moved, or                      transfer
                                                                                                                      transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

           No
           Yes. Fill in the details.
      Name of Financial Institution                                Who else had access to it?            Describe the contents               Do you still
      Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City,                                            have it?
                                                                   State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

           No
           Yes. Fill in the details.
      Name of Storage Facility                                     Who else has or had access            Describe the contents               Do you still
      Address (Number, Street, City, State and ZIP Code)           to it?                                                                    have it?
                                                                   Address (Number, Street, City,
                                                                   State and ZIP Code)




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 5
                                 Case 22-13855-AJC                      Doc 1           Filed 05/16/22              Page 64 of 86
Debtor 1     Yoandy Gil                                                                                     Case number (if known)



Part 9:     Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

           No
           Yes. Fill in the details.
      Owner's Name                                               Where is the property?                     Describe the property                    Value
      Address (Number, Street, City, State and ZIP Code)         (Number, Street, City, State and ZIP
                                                                 Code)

Part 10:    Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
     toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
     regulations controlling the cleanup of these substances, wastes, or material.
     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
     to own, operate, or utilize it, including disposal sites.
     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
     hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

           No
           Yes. Fill in the details.
      Name of site                                               Governmental unit                             Environmental law, if you   Date of notice
      Address (Number, Street, City, State and ZIP Code)         Address (Number, Street, City, State and      know it
                                                                 ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

           No
           Yes. Fill in the details.
      Name of site                                               Governmental unit                             Environmental law, if you   Date of notice
      Address (Number, Street, City, State and ZIP Code)         Address (Number, Street, City, State and      know it
                                                                 ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No
           Yes. Fill in the details.
      Case Title                                                 Court or agency                            Nature of the case             Status of the
      Case Number                                                Name                                                                      case
                                                                 Address (Number, Street, City,
                                                                 State and ZIP Code)

Part 11:    Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
               A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

               A member of a limited liability company (LLC) or limited liability partnership (LLP)

               A partner in a partnership

               An officer, director, or managing executive of a corporation

               An owner of at least 5% of the voting or equity securities of a corporation




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                               page 6
                                    Case 22-13855-AJC                   Doc 1         Filed 05/16/22             Page 65 of 86
Debtor 1      Yoandy Gil                                                                                Case number (if known)



            No. None of the above applies. Go to Part 12.

            Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                        Describe the nature of the business               Employer Identification number
       Address                                                                                                Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)           Name of accountant or bookkeeper
                                                                                                              Dates business existed
       JT Venous Access, LLC                                CNA                                               EIN:         XX-XXXXXXX
       11256 NW 6th St.
       Miami, FL 33172                                                                                        From-To      11/20016 to 02/2020


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

            No
            Yes. Fill in the details below.
       Name                                                 Date Issued
       Address
       (Number, Street, City, State and ZIP Code)

Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

/s/ Yoandy Gil
Yoandy Gil                                                            Signature of Debtor 2
Signature of Debtor 1

Date      May 16, 2022                                                Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                 . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 7
                                    Case 22-13855-AJC           Doc 1        Filed 05/16/22          Page 66 of 86




Fill in this information to identify your case:

Debtor 1               Yoandy Gil
                       First Name                 Middle Name                Last Name

Debtor 2
(Spouse if, filing)    First Name                 Middle Name                Last Name


United States Bankruptcy Court for the:     SOUTHERN DISTRICT OF FLORIDA

Case number
(if known)                                                                                                               Check if this is an
                                                                                                                         amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                            12/15


If you are an individual filing under chapter 7, you must fill out this form if:
   creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?

   Creditor's                                                      Surrender the property.                             No
   name:                                                           Retain the property and redeem it.
                                                                   Retain the property and enter into a                Yes
   Description of                                                  Reaffirmation Agreement.
   property                                                        Retain the property and [explain]:
   securing debt:

   Creditor's                                                      Surrender the property.                             No
   name:                                                           Retain the property and redeem it.
                                                                   Retain the property and enter into a                Yes
   Description of                                                  Reaffirmation Agreement.
   property                                                        Retain the property and [explain]:
   securing debt:

   Creditor's                                                      Surrender the property.                             No
   name:                                                           Retain the property and redeem it.
                                                                   Retain the property and enter into a                Yes
   Description of                                                  Reaffirmation Agreement.
   property                                                        Retain the property and [explain]:
   securing debt:



Official Form 108                             Statement of Intention for Individuals Filing Under Chapter 7                                    page 1
                              Case 22-13855-AJC               Doc 1       Filed 05/16/22             Page 67 of 86


Debtor 1      Yoandy Gil                                                                   Case number (if known)



    Creditor's                                                   Surrender the property.                                     No
    name:                                                        Retain the property and redeem it.
                                                                 Retain the property and enter into a                        Yes
    Description of                                               Reaffirmation Agreement.
    property                                                     Retain the property and [explain]:
    securing debt:



 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

Describe your unexpired personal property leases                                                                    Will the lease be assumed?

Lessor's name:                                                                                                         No
Description of leased
Property:                                                                                                              Yes

Lessor's name:                                                                                                         No
Description of leased
Property:                                                                                                              Yes

Lessor's name:                                                                                                         No
Description of leased
Property:                                                                                                              Yes

Lessor's name:                                                                                                         No
Description of leased
Property:                                                                                                              Yes

Lessor's name:                                                                                                         No
Description of leased
Property:                                                                                                              Yes

Lessor's name:                                                                                                         No
Description of leased
Property:                                                                                                              Yes

Lessor's name:                                                                                                         No
Description of leased
Property:                                                                                                              Yes

Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

X     /s/ Yoandy Gil                                                     X
      Yoandy Gil                                                             Signature of Debtor 2
      Signature of Debtor 1

      Date       May 16, 2022                                            Date




Official Form 108                           Statement of Intention for Individuals Filing Under Chapter 7                                    page 2
                               Case 22-13855-AJC                    Doc 1        Filed 05/16/22        Page 68 of 86



Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
This notice is for you if:
                                                                                                  $245      filing fee
       You are an individual filing for bankruptcy,
       and                                                                                         $78   administrative fee

       Your debts are primarily consumer debts.                                           +        $15   trustee surcharge
       Consumer debts are defined in 11 U.S.C.
       § 101(8) as “incurred by an individual                                                     $338      total fee
       primarily for a personal, family, or
       household purpose.”                                                                Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their non-exempt
The types of bankruptcy that are available to                                             property to be used to pay their creditors. The
individuals                                                                               primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
Individuals who meet the qualifications may file under                                    relieves you after bankruptcy from having to pay
one of four different chapters of Bankruptcy Code:                                        many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
       Chapter 7 - Liquidation                                                            be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
       Chapter 11 - Reorganization                                                        repossess an automobile.

       Chapter 12 - Voluntary repayment plan                                              However, if the court finds that you have committed
                   for family farmers or                                                  certain kinds of improper conduct described in the
                   fishermen                                                              Bankruptcy Code, the court may deny your
                                                                                          discharge.
       Chapter 13 - Voluntary repayment plan
                   for individuals with regular                                           You should know that even if you file chapter 7 and
                   income                                                                 you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
You should have an attorney review your
decision to file for bankruptcy and the choice of                                             most taxes;
chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                   page 1
                               Case 22-13855-AJC                    Doc 1        Filed 05/16/22           Page 69 of 86



       most fines, penalties, forfeitures, and criminal                                   your income is more than the median income for your
       restitution obligations; and                                                       state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
       certain debts that are not listed in your bankruptcy                               administrator, or creditors can file a motion to dismiss
       papers.                                                                            your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
You may also be required to pay debts arising from:                                       be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
       fraud or theft;                                                                    Code.

       fraud or defalcation while acting in breach of                                     If you are an individual filing for chapter 7 bankruptcy,
       fiduciary capacity;                                                                the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
       intentional injuries that you inflicted; and                                       of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
       death or personal injury caused by operating a                                     bankruptcy trustee sells or liquidates that you are
       motor vehicle, vessel, or aircraft while intoxicated                               entitled to, is called exempt property. Exemptions may
       from alcohol or drugs.                                                             enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
If your debts are primarily consumer debts, the court                                     the property is sold.
can dismiss your chapter 7 case if it finds that you have
enough income to repay creditors a certain amount.                                        Exemptions are not automatic. To exempt property,
You must file Chapter 7 Statement of Your Current                                         you must list it on Schedule C: The Property You Claim
Monthly Income (Official Form 122A–1) if you are an                                       as Exempt (Official Form 106C). If you do not list the
individual filing for bankruptcy under chapter 7. This                                    property, the trustee may sell it and pay all of the
form will determine your current monthly income and                                       proceeds to your creditors.
compare whether your income is more than the median
income that applies in your state.

If your income is not above the median for your state,
you will not have to complete the other chapter 7 form,                                   Chapter 11: Reorganization
the Chapter 7 Means Test Calculation (Official Form
122A–2).
                                                                                                      $1,167    filing fee
If your income is above the median for your state, you
must file a second form —the Chapter 7 Means Test                                            +           $571    administrative fee
Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,738    total fee
the form— sometimes called the Means Test—deduct
from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                         page 2
                               Case 22-13855-AJC                    Doc 1        Filed 05/16/22          Page 70 of 86

       Read These Important Warnings

           Because bankruptcy can have serious long-term financial and legal consequences, including loss of
           your property, you should hire an attorney and carefully consider all of your options before you file.
           Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
           and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
           properly and protect you, your family, your home, and your possessions.

           Although the law allows you to represent yourself in bankruptcy court, you should understand that
           many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
           or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
           following all of the legal requirements.

           You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
           necessary documents.

           Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
           bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
           fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
           20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
Chapter 12: Repayment plan for family                                                     to repay your creditors all or part of the money that
            farmers or fishermen                                                          you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                 $200     filing fee                                                      years or 5 years, depending on your income and other
+                 $78     administrative fee                                              factors.
                 $278     total fee
                                                                                          After you make all the payments under your plan,
Similar to chapter 13, chapter 12 permits family farmers                                  many of your debts are discharged. The debts that are
and fishermen to repay their debts over a period of time                                  not discharged and that you may still be responsible to
using future earnings and to discharge some debts that                                    pay include:
are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
Chapter 13: Repayment plan for
            individuals with regular                                                             certain taxes,
            income
                                                                                                 debts for fraud or theft,

                 $235     filing fee                                                             debts for fraud or defalcation while acting in a
+                 $78     administrative fee                                                     fiduciary capacity,
                 $313     total fee
                                                                                                 most criminal fines and restitution obligations,
Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in                                              certain debts that are not listed in your
installments over a period of time and to discharge                                              bankruptcy papers,
some debts that are not paid. You are eligible for
chapter 13 only if your debts are not more than certain                                          certain debts for acts that caused death or
dollar amounts set forth in 11 U.S.C. § 109.                                                     personal injury, and

                                                                                                 certain long-term secured debts.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                        page 3
                               Case 22-13855-AJC                    Doc 1        Filed 05/16/22          Page 71 of 86

                                                                                          A married couple may file a bankruptcy case
             Warning: File Your Forms on Time                                             together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
Section 521(a)(1) of the Bankruptcy Code requires that                                    bankruptcy petition, the bankruptcy court generally will
you promptly file detailed information about your                                         mail you and your spouse one copy of each notice,
creditors, assets, liabilities, income, expenses and                                      unless you file a statement with the court asking that
general financial condition. The court may dismiss your                                   each spouse receive separate copies.
bankruptcy case if you do not file this information within
the deadlines set by the Bankruptcy Code, the                                             Understand which services you could receive from
Bankruptcy Rules, and the local rules of the court.                                       credit counseling agencies

For more information about the documents and                                              The law generally requires that you receive a credit
their deadlines, go to:                                                                   counseling briefing from an approved credit counseling
http://www.uscourts.gov/forms/bankruptcy-forms                                            agency. 11 U.S.C. § 109(h). If you are filing a joint
                                                                                          case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
Bankruptcy crimes have serious consequences                                               days before you file your bankruptcy petition. This
                                                                                          briefing is usually conducted by telephone or on the
       If you knowingly and fraudulently conceal assets                                   Internet.
       or make a false oath or statement under penalty
       of perjury—either orally or in writing—in                                          In addition, after filing a bankruptcy case, you generally
       connection with a bankruptcy case, you may be                                      must complete a financial management instructional
       fined, imprisoned, or both.                                                        course before you can receive a discharge. If you are
                                                                                          filing a joint case, both spouses must complete the
       All information you supply in connection with a                                    course.
       bankruptcy case is subject to examination by the
       Attorney General acting through the Office of the                                  You can obtain the list of agencies approved to provide
       U.S. Trustee, the Office of the U.S. Attorney, and                                 both the briefing and the instructional course from:
       other offices and employees of the U.S.                                            http://www.uscourts.gov/services-forms/bankruptcy/cre
       Department of Justice.                                                             dit-counseling-and-debtor-education-courses.

Make sure the court has your mailing address                                              In Alabama and North Carolina, go to:
                                                                                          http://www.uscourts.gov/services-forms/bankruptcy/cre
The bankruptcy court sends notices to the mailing                                         dit-counseling-and-debtor-education-courses.
address you list on Voluntary Petition for Individuals
Filing for Bankruptcy (Official Form 101). To ensure                                      If you do not have access to a computer, the clerk of
that you receive information about your case,                                             the bankruptcy court may be able to help you obtain
Bankruptcy Rule 4002 requires that you notify the court                                   the list.
of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                        page 4
                          Case 22-13855-AJC              Doc 1       Filed 05/16/22        Page 72 of 86




                                              United States Bankruptcy Court
                                                    Southern District of Florida
 In re   Yoandy Gil                                                                            Case No.
                                                                   Debtor(s)                   Chapter     7




                                  VERIFICATION OF CREDITOR MATRIX


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



Date: May 16, 2022                                     /s/ Yoandy Gil
                                                       Yoandy Gil
                                                       Signature of Debtor
    Case 22-13855-AJC   Doc 1   Filed 05/16/22   Page 73 of 86



}
b
k
1
{
C
r
e
d
i
t
o
A
s
M
a
x




            Ally Financial
            P.o. Box 380901
            Bloomington, MN 55438


            Ally Financial
            Attn: Bankruptcy
            Po Box 380901
            Bloomington, MN 55438


            Amex
            P.o. Box 981537
            El Paso, TX 79998


            Amex
            P.o. Box 981537
            El Paso, TX 79998


            Amex
            Correspondence/Bankruptcy
            Po Box 981540
            El Paso, TX 79998


            Amex
            Correspondence/Bankruptcy
            Po Box 981540
            El Paso, TX 79998


            AR Resources, Inc.
            Pob 1056
            Blue Bell, PA 19422


            AR Resources, Inc.
            Attn: Bankruptcy
            Po Box 1056
            Blue Bell, PA 19422


            Bank of America
            Po Box 982238
            El Paso, TX 79998


            Bank of America
            4909 Savarese Circle
            Fl1-908-01-50
            Tampa, FL 33634
Case 22-13855-AJC   Doc 1   Filed 05/16/22   Page 74 of 86




        Barclays Bank Delaware
        P.o. Box 8803
        Wilmington, DE 19899


        Barclays Bank Delaware
        Attn: Bankruptcy
        Po Box 8801
        Wilmington, DE 19899


        BBVA Compass Bank
        Po Box 11830
        Birmingham, AL 35202


        BBVA Compass Bank
        Attn: Bankruptcy
        Po Box 10566
        Birmingham, AL 35296


        Capital One
        Po Box 30253
        Salt Lake City, UT 84130


        Capital One
        Attn: Bankruptcy
        Po Box 30285
        Salt Lake City, UT 84130


        Capital One Auto Finance
        Credit Bureau Dispute
        Plano, TX 75025


        Capital One Auto Finance
        Credit Bureau Dispute
        Plano, TX 75025


        Capital One Auto Finance
        Attn: Bankruptcy
        Po Box 30285
        Salt Lake City, UT 84130


        Capital One Auto Finance
        Attn: Bankruptcy
        Po Box 30285
        Salt Lake City, UT 84130
Case 22-13855-AJC   Doc 1   Filed 05/16/22   Page 75 of 86




        Cavalry Portfolio Services
        500 Summit Lake Drive
        Valhalla, NY 10595


        Cavalry Portfolio Services
        500 Summit Lake
        Suite 400
        Valhalla, NY 10595


        Chase Auto Finance
        P.o. Box 901003
        Fort Worth, TX 76101


        Chase Auto Finance
        Attn: Bankruptcy
        Po Box 901076
        Fort Worth, TX 76101


        Citibank
        P.O. Box 689196
        Des Moines, IA 50368-9196


        Citibank
        P.O. Box 790046
        Saint Louis, MO 63179-0046


        Citibank/ The Home Depot
        P.O. Box 9001010
        Louisville, KY 40290-1010


        Comenity Bank/Express
        Po Box 182789
        Columbus, OH 43218


        Comenity Bank/Express
        Attn: Bankruptcy
        Po Box 182125
        Columbus, OH 43218


        Comenity Bank/Victoria Secret
        Po Box 182789
        Columbus, OH 43218
Case 22-13855-AJC   Doc 1   Filed 05/16/22   Page 76 of 86




        Comenity Bank/Victoria Secret
        Attn: Bankruptcy
        Pob 182125
        Columbus, OH 43218


        Comenity/MPRC
        Po Box 182120
        Columbus, OH 43218


        Comenity/MPRC
        Attn: Bankruptcy
        Po Box 182125
        Columbus, OH 43218


        Comenitycb/el Dorado
        Po Box 182120
        Columbus, OH 43218


        Comenitycb/el Dorado
        Attn: Bankruptcy Dept
        Po Box 182125
        Columbus, OH 43218


        Credit First National Association
        Pob 81315
        Cleveland, OH 44181


        Credit First National Association
        Attn: Bankruptcy
        Po Box 81315
        Cleveland, OH 44181


        Credit One Bank
        Po Box 98872
        Las Vegas, NV 89193


        Credit One Bank
        Attn: Bankruptcy Department
        Po Box 98873
        Las Vegas, NV 89193


        Discover Financial
        Pob 15316
        Wilmington, DE 19850
Case 22-13855-AJC   Doc 1   Filed 05/16/22   Page 77 of 86




        Discover Financial
        Attn: Bankruptcy
        Po Box 3025
        New Albany, OH 43054


        Fannie Mae Mortgage Loan Company
        c/o Timothy J. Mayopoulos, CEO
        3900 Wisconsin Avenue, NW
        Washington, DC 20016-2892


        First PREMIER Bank
        3820 N Louise Ave
        Sioux Falls, SD 57107


        First PREMIER Bank
        Attn: Bankruptcy
        Po Box 5524
        Sioux Falls, SD 57117


        Freddie Mac Mortgage Loan Company
        c/o Donald H. Layton, CEO
        8200 Jones Branch Dr.
        Mc Lean, VA 22102-3110


        Freedom Mortgage Corporation
        907 Pleasant Valley Ave
        Mount Laurel, NJ 08054


        Freedom Mortgage Corporation
        Attn: Bankruptcy
        907 Pleasant Valley Ave, Ste 3
        Mt Laurel, NJ 08054


        Hayt Hayt & Landau, PL
        7765 SW 87th Ave Ste 101
        Miami, FL 33173-2535


        Homestead Hospital
        Pob 198116
        Atlanta, GA 30384


        Honorable Ariana Fajardo Orshan
        US Attorney for Southern District
        99 NE 4 St
        Miami, FL 33132
Case 22-13855-AJC   Doc 1   Filed 05/16/22   Page 78 of 86




        Honorable William P. Barr
        Attorney General
        Dept of Justice #4400
        950 Pennsylvania Ave NW
        Washington, DC 20530


        Hyundai Motor Finance
        10550 Talbert Av
        Fountain Valley, CA 92708


        Hyundai Motor Finance
        Attn: Bankruptcy
        Po Box 20809
        Fountain Valley, CA 92728


        Internal Revenue Service
        Centralized Insolvency Operation
        POB 7346
        Philadelphia, PA 19101-7346


        Jefferson Capital Systems, LLC
        16 Mcleland Rd
        Saint Cloud, MN 56303


        Jefferson Capital Systems, LLC
        Attn: Bankruptcy
        16 Mcleland Road
        Saint Cloud, MN 56303


        Kohls/Capital One
        Po Box 3115
        Milwaukee, WI 53201


        Kohls/Capital One
        Attn: Credit Administrator
        Po Box 3043
        Milwaukee, WI 53201


        LendingClub
        595 Market St
        San Francisco, CA 94105


        LendingClub
        Attn: Bankruptcy
        595 Market St, Ste 200
        San Francisco, CA 94105
Case 22-13855-AJC   Doc 1   Filed 05/16/22   Page 79 of 86




        LVNV Funding/Resurgent Capital
        C/o Resurgent Capital Services
        Greenville, SC 29602


        LVNV Funding/Resurgent Capital
        Attn: Bankruptcy
        Po Box 10497
        Greenville, SC 29603


        MABTC/Tidewater Credit Services
        Po Box 13306
        Virginia Beach, VA 23464


        MABTC/Tidewater Credit Services
        Attn: Bankruptcy
        Po Box 13306
        Chesapeake, VA 23325


        Midland Fund
        320 East Big Beaver
        Troy, MI 48083


        Midland Fund
        320 East Big Beaver
        Troy, MI 48083


        Midland Fund
        Attn: Bankruptcy
        350 Camino De La Reine Ste 100
        San Diego, CA 92108


        Midland Fund
        Attn: Bankruptcy
        350 Camino De La Reine Ste 100
        San Diego, CA 92108


        Mr. Cooper
        350 Highland
        Houston, TX 77067


        Mr. Cooper
        Attn: Bankruptcy
        Po Box 619098
        Dallas, TX 75261
Case 22-13855-AJC   Doc 1   Filed 05/16/22   Page 80 of 86




        Navient
        Po Box 9635
        Wilkes Barre, PA 18773


        Navient
        Po Box 9635
        Wilkes Barre, PA 18773


        Navient
        Po Box 9635
        Wilkes Barre, PA 18773


        Navient
        Po Box 9635
        Wilkes Barre, PA 18773


        Navient
        Po Box 9635
        Wilkes Barre, PA 18773


        Navient
        Po Box 9635
        Wilkes Barre, PA 18773


        Navient
        Po Box 9635
        Wilkes Barre, PA 18773


        Navient
        Po Box 9635
        Wilkes Barre, PA 18773


        Navient
        Po Box 9635
        Wilkes Barre, PA 18773


        Navient
        Po Box 9635
        Wilkes Barre, PA 18773


        Navient
        Attn: Bankruptcy
        Po Box 9640
        Wilkes-Barre, PA 18773
Case 22-13855-AJC   Doc 1   Filed 05/16/22   Page 81 of 86




        Navient
        Attn: Bankruptcy
        Po Box 9640
        Wilkes-Barre, PA 18773


        Navient
        Attn: Bankruptcy
        Po Box 9640
        Wilkes-Barre, PA 18773


        Navient
        Attn: Bankruptcy
        Po Box 9640
        Wilkes-Barre, PA 18773


        Navient
        Attn: Bankruptcy
        Po Box 9640
        Wilkes-Barre, PA 18773


        Navient
        Attn: Bankruptcy
        Po Box 9640
        Wilkes-Barre, PA 18773


        Navient
        Attn: Bankruptcy
        Po Box 9640
        Wilkes-Barre, PA 18773


        Navient
        Attn: Bankruptcy
        Po Box 9640
        Wilkes-Barre, PA 18773


        Navient
        Attn: Bankruptcy
        Po Box 9640
        Wilkes-Barre, PA 18773


        Navient
        Attn: Bankruptcy
        Po Box 9640
        Wilkes-Barre, PA 18773
Case 22-13855-AJC   Doc 1   Filed 05/16/22   Page 82 of 86




        Naviet
        Po Box 9635
        Wilkes Barre, PA 18773


        Naviet
        Po Box 9635
        Wilkes Barre, PA 18773


        Naviet
        Po Box 9635
        Wilkes Barre, PA 18773


        Naviet
        Po Box 9635
        Wilkes Barre, PA 18773


        Naviet
        Po Box 9635
        Wilkes Barre, PA 18773


        Naviet
        Po Box 9635
        Wilkes Barre, PA 18773


        Naviet
        Po Box 9635
        Wilkes Barre, PA 18773


        Naviet
        Attn: Claims Dept
        Po Box 9500
        Wilkes-Barr, PA 19773


        Naviet
        Attn: Claims Dept
        Po Box 9500
        Wilkes-Barr, PA 19773


        Naviet
        Attn: Claims Dept
        Po Box 9500
        Wilkes-Barr, PA 19773
Case 22-13855-AJC   Doc 1   Filed 05/16/22   Page 83 of 86




        Naviet
        Attn: Claims Dept
        Po Box 9500
        Wilkes-Barr, PA 19773


        Naviet
        Attn: Claims Dept
        Po Box 9500
        Wilkes-Barr, PA 19773


        Naviet
        Attn: Claims Dept
        Po Box 9500
        Wilkes-Barr, PA 19773


        Naviet
        Attn: Claims Dept
        Po Box 9500
        Wilkes-Barr, PA 19773


        Olympia, LLP
        Pob 025278
        Miami, FL 33102


        Portfolio Recovery
        120 Corporate Blvd Ste 100
        Norfolk, VA 23502


        Portfolio Recovery
        120 Corporate Blvd Ste 100
        Norfolk, VA 23502


        Portfolio Recovery
        Attn: Bankruptcy
        120 Corporate Blvd
        Norfold, VA 23502


        Portfolio Recovery
        Attn: Bankruptcy
        120 Corporate Blvd
        Norfold, VA 23502


        Prosper Funding LLC
        221 Main Street
        San Francisco, CA 94105
Case 22-13855-AJC   Doc 1   Filed 05/16/22   Page 84 of 86




        Prosper Funding LLC
        221 Main Street
        Suite 300
        San Francisco, CA 94105


        Sears
        POB 9001055
        Louisville, KY 40290


        Space Coast Credit Union
        8045 N Wickham Rd
        Melbourne, FL 32940


        Space Coast Credit Union
        8045 N Wickham Rd
        Melbourne, FL 32940


        Space Coast Credit Union
        8045 N Wickham Rd
        Melbourne, FL 32940


        Space Coast Credit Union
        8045 N Wickham Rd
        Melbourne, FL 32940


        Space Coast Credit Union
        8045 N Wickham Rd
        Melbourne, FL 32940


        Space Coast Credit Union
        Attn: Bankruptcy
        8045 North Wickham Road
        Melbourne, FL 32940


        Space Coast Credit Union
        Attn: Bankruptcy
        8045 North Wickham Road
        Melbourne, FL 32940


        Space Coast Credit Union
        Attn: Bankruptcy
        8045 North Wickham Road
        Melbourne, FL 32940
Case 22-13855-AJC   Doc 1   Filed 05/16/22   Page 85 of 86




        Space Coast Credit Union
        Attn: Bankruptcy
        8045 North Wickham Road
        Melbourne, FL 32940


        Space Coast Credit Union
        Attn: Bankruptcy
        8045 North Wickham Road
        Melbourne, FL 32940


        Sprechman & Associates, P.A.
        2775 Sunny Isles Blvd., #100
        North Miami Beach, FL 33160


        Synch/Brandsmart
        POB 965036
        Orlando, FL 32896


        Synch/Rooms To Go
        2365 Northside Drive, #300
        San Diego, CA 92108


        Synchrony Bank/Lowes
        Po Box 956005
        Orlando, FL 32896


        Synchrony Bank/Lowes
        Attn: Bankruptcy
        Po Box 965060
        Orlando, FL 32896


        Target
        Po Box 673
        Minneapolis, MN 55440


        Target
        c/o Financial & Retail Srvs
        Mailstop BT POB 9475
        Minneapolis, MN 55440


        TD Auto Finace
        POB 9223
        Farmington, MI 48333
Case 22-13855-AJC   Doc 1   Filed 05/16/22   Page 86 of 86




        Td Auto Finance
        Po Box 9223
        Farmington, MI 48333


        Td Auto Finance
        Attn: Bankruptcy Dept
        Po Box 9223
        Farmington Hills, MI 48333


        Thalia Mesa Alvarez
        11273 NW 6th Terr
        Miami, FL 33172


        Tidewater Finance Co
        6520 Indian River Rd
        Virginia Beach, VA 23464


        Tidewater Finance Co
        Attn: Bankruptcy
        6520 Indian River Rd
        Virginia Beach, VA 23464
